         Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 1 of 156


                                  ATTACHMENT A
    List of docket numbers, with limited associated information, for applications for
   search warrants under Federal Rule of Criminal Procedure 41 and applications for
       orders under 18 U.S.C. § 2703(a)-(c), filed by the Special Counsel's Office

          Case Number/Title               Dates                   Category/ Event
1:17-mj-00459-BAH *SEALED*           Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED        07/07/2017      Affidavit for
WITH THE EMAIL ACCOUNT               11:15:14        Search/Seizure Warrant under Rule 41 by
[REDACTED]                           Filed:          USA
                                     07/07/2017      Document:
                                                     5
                                     Application and Affidavit for Search Warrant by USA as
                                     to INFORMATION ASSOCIATED WITH THE EMAIL
                                     ACCOUNT [REDACTED].
                                     (Attachments: # 1 Affidavit)
1:17-mj-00460-BAH *SEALED*           Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED        07/07/2017      Affidavit for
WITH THE LINKEDIN ACCOUNT            11:18:24        Search/Seizure Warrant under Rule 41 by
[REDACTED]                           Filed:          USA
                                     07/07/2017      Document:
                                                     5
                                Application and Affidavit for Search Warrant by USA as
                                to INFORMATION ASSOCIATED WITH THE
                                LINKEDIN ACCOUNT [REDACTED]. (Attachments: #
                                1 Affidavit)
1:17-mj-00475-BAH *SEALED*      Entered:        Category:
USA v. ELECTRONIC DEVICES TO BE 07/07/2017      misc-cr
PROVIDED TO A
GRAND JURY IN THE DISTRICT OF                   Event:
COLUMBIA, IN
RESPONSE TO GRAND JURY          13:01:02        Application
SUBPOENA 17-1/2006, BY
SUBPOENA RECIPIENT [REDACTED] Filed:            and Affidavit

                                     07/07/2017      for
                                                     Search/Seizure
                                                     Warrant under
                                                     Rule 41 by
                                                     USA
                                                     Document:
                                                     1


                                            1
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 2 of 156


                                  Application and Affidavit for Search Warrant by USA as
                                  to ELECTRONIC DEVICES TO BE PROVIDED TO A
                                  GRAND JURY IN THE DISTRICT OF COLUMBIA, IN
                                  RESPONSE TO GRAND JURY SUBPOENA 17-1/2006,
                                  BY SUBPOENA RECIPIENT [REDACTED].
                                  (Attachments: # 1 Affidavit)

1:17-mj-00477-BAH *SEALED*        Entered:        Category: misc-cr Event: Application and
USA v. ELECTRONIC DEVICES TO BE   07/07/2017      Affidavit for
PROVIDED TO A GRAND JURY IN       13:06:35        Search/Seizure Warrant under Rule 41 by
THE DISTRICT OF COLUMBIA, IN      Filed:          USA
RESPONSE TO GRAND JURY            07/07/2017      Document:
SUBPOENA17-1/2008, BY SUBPOENA                    1
RECIPIENT [REDACTED]

                                  Application and Affidavit for Search Warrant by USA as
                                  to ELECTRONIC DEVICES TO BE PROVIDED TO A
                                  GRAND JURY IN THE DISTRICT OF COLUMBIA, IN
                                  RESPONSE TO GRAND JURY SUBPOENA17-1/2008,
                                  BY SUBPOENA RECIPIENT [REDACTED].
                                  (Attachments: # 1 Affidavit)

1:17-mj-00478-BAH *SEALED*        Entered:        Category: misc-cr Event: Application and
USA v. ELECTRONIC DEVICES TO BE   07/07/2017      Affidavit for
PROVIDED TO A GRAND JURY IN       13:12:15        Search/Seizure Warrant under Rule 41 by
THE DISTRICT OF COLUMBIA, IN      Filed:          USA
RESPONSE TO GRAND JURY            07/07/2017      Document:
SUBPOENA 17-1/2007, BY SUBPOENA                   1
RECIPIENT [REDACTED]

                                  Application and Affidavit for Search Warrant by USA as
                                  to ELECTRONIC DEVICES TO BE PROVIDED TO A
                                  GRAND JURY IN THE DISTRICT OF COLUMBIA, IN
                                  RESPONSE TO GRAND JURY SUBPOENA 17-1/2007,
                                  BY SUBPOENA RECIPIENT [REDACTED].
                                  (Attachments: # 1 Affidavit)
1:17-mj-00493-BAH *SEALED*        Entered:        Category:
USA v. IN THE MATTER OF THE       07/13/2017      misc-cr
SEARCH OF
INFORMATION                                       Event:
                                  16:51:07        Application
                                  Filed:          and Affidavit
                                  07/13/2017      for


                                        2
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 3 of 156


                                                     Search/Seizure
                                                     Warrant under
                                                     Rule 41 by
                                                     USA
                                                     Document:
                                                     1
                                     Application and Affidavit for Search Warrant by USA as
                                     to IN THE MATTER OF THE SEARCH OF
                                     INFORMATION. (Attachments: # 1 Affidavit)

1:17-mj-00496-BAH *SEALED*           Entered:        Category: misc-cr Event: Application and
USA v. IN THE MATTER OF THE          07/14/2017      Affidavit for
SEARCH OF HARD DRIVE WITH            14:01:53        Search/Seizure Warrant under Rule 41 by
SERIAL NUMBER [REDACTED]             Filed:          USA
                                     07/14/2017      Document:
                                                     1
                                     Application and Affidavit for Search Warrant by USA as
                                     to IN THE MATTER OF THE SEARCH OF HARD
                                     DRIVE WITH SERIAL NUMBER [REDACTED].
                                     (Attachments: # 1 Affidavit)
1:17-mj-00499-BAH *SEALED*           Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED        07/17/2017      Affidavit for
WITH SKYPE ACCOUNTS                  14:15:22        Search/Seizure Warrant under Rule 41 by
[REDACTED] AND [REDACTED]            Filed:          USA
                                     07/17/2017      Document:
                                                     1
                              Application and Affidavit for Search Warrant by USA as
                              toINFORMATION ASSOCIATED WITH SKYPE
                              ACCOUNTS [REDACTED] AND [REDACTED].
                              (Attachment: # 1 Affidavit)
1:17-mj-00503-BAH *SEALED*    Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED 07/18/2017      Affidavit for
WITH EMAIL ACCOUNT [REDACTED] 16:49:47        Search/Seizure Warrant under Rule 41 by
                              Filed:          USA
                              07/18/2017      Document:
                                              1
                                     Application and Affidavit for Search Warrant by USA as
                                     to INFORMATION ASSOCIATED WITH EMAIL
                                     ACCOUNT [REDACTED].
                                     (Attachments: # 1 Affidavit)




                                           3
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 4 of 156


1:17-mj-00522-BAH *SEALED*        Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED     07/26/2017      Affidavit for
WITH THE EMAIL ACCOUNT            11:18:12        Search/Seizure Warrant under Rule 41 by
[REDACTED]                        Filed:          USA
                                  07/24/2017      Document:
                                                  1
                                  Application and Affidavit for Search Warrant by USA as
                                  to INFORMATION ASSOCIATED WITH THE EMAIL
                                  ACCOUNT [REDACTED].
                                  (Attachments: # 1 Attachment, # 2 Affidavit, # 3
                                  SEARCH AND SEIZURE WARRANT)
1:17-mj-00527-BAH *SEALED*        Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED     07/26/2017      Affidavit for
WITH THE EMAIL ACCOUNT            11:53:16        Search/Seizure Warrant under Rule 41 by
[REDACTED]                        Filed:          USA
                                  07/26/2017      Document:
                                                  1
                                  Application and Affidavit for Search Warrant by USA as
                                  to INFORMATION ASSOCIATED WITH THE EMAIL
                                  ACCOUNT [REDACTED].
                                  (Attachments: # 1 Affidavit, # 2 attachment, # 3 Search
                                  and Seizure Warrant)
1:17-mj-00533-BAH *SEALED*        Entered:        Category:
USA v. [REDACTED]                 07/27/2017      misc-cr
                                  09:37:36        Event: Application and Affidavit for
                                  Filed:          Search/Seizure Warrant under Rule 41 by
                                  07/27/2017      USA
                                                  Document:
                                                  1
                                  Application and Affidavit for Search Warrant by USA as
                                  to [REDACTED]. (Attachments: # 1
                                  Affidavit)
1:17-mj-00536-BAH *SEALED*        Entered:        Category: misc-cr Event: Application and
USA v. [REDACTED]                 07/27/2017      Affidavit for
                                  16:28:27        Search/Seizure Warrant under Rule 41 by
                                  Filed:          USA
                                  07/27/2017      Document:
                                                  1
                                  Application and Affidavit for Search Warrant by USA as
                                  to [REDACTED]. (Attachments: # 1
                                  Affidavit, # 2 Search and Seizure warrant)




                                        4
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 5 of 156


1:17-mj-00537-BAH *SEALED*        Entered:        Category: misc-cr Event: Application and
USA v. [REDACTED]                 07/27/2017      Affidavit for
                                  16:33:46        Search/Seizure Warrant under Rule 41 by
                                  Filed:          USA
                                  07/27/2017      Document:
                                                  1
                                  Application and Affidavit for Search Warrant by USA as
                                  to [REDACTED]. (Attachments:
                                  # 1 Affidavit, # 2 Search and Seizure Warrant )
1:17-mj-00548-BAH *SEALED*        Entered:          Category:
USA v. INFORMATION ASSOCIATED     08/01/2017        misc-cr
WITH THE
EMAIL ACCOUNT [REDACTED]                           Event:
                                  11:09:45         Application
                                  Filed:           and Affidavit
                                  08/01/2017       for
                                                   Search/Seizure Warrant under Rule 41 by
                                                   USA
                                                   Document:
                                                   1
                                  Application and Affidavit for Search Warrant by USA as
                                  to INFORMATION ASSOCIATED WITH THE EMAIL
                                  ACCOUNT [REDACTED]. (Attachments: # 1 Affidavit,
                                  # 2 Exhibit Letter to the Chief, # 3 Search and Seizure
                                  Warrant)
1:17-mj-00567-BAH *SEALED*        Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED     08/04/2017      Affidavit for
WITH THE TWITTER ACCOUNTS         15:29:48        Search/Seizure Warrant under Rule 41 by
[REDACTED] AND [REDACTED]         Filed:          USA
                                  08/04/2017      Document:
                                                  1
                                  Application and Affidavit for Search Warrant by USA as
                                  to INFORMATION ASSOCIATED WITH THE
                                  TWITTER ACCOUNTS [REDACTED]
                                  AND [REDACTED]. (Attachments: # 1 Affidavit, # 2
                                  Exhibit Letter to the Chief, # 3 Search and Seizure
                                  Warrant)




                                        5
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 6 of 156


1:17-mj-00570-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    08/07/2017      Affidavit for
WITH THE APPLE ID [REDACTED]     14:34:33        Search/Seizure Warrant under Rule 41 by
THAT IS STORED AT PREMISES       Filed:          USA
CONTROLLED BY APPLE, INC.        08/07/2017      Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE APPLE
                                 ID [REDACTED] THAT IS STORED AT PREMISES
                                 CONTROLLED
                                 BY APPLE, INC. (Attachments: # 1 Affidavit, # 2 Letter
                                 to the Court, # 3 Search and Seizure Warrant)

1:17-mj-00597-BAH *SEALED*       Entered:        Category:
USA v. INFORMATION ASSOCIATED    08/15/2017      misc-cr
WITH MULTIPLE
GOOGLE ACCOUNTS THAT IS                          Event:
STORED AT PREMISES
CONTROLLED BY GOOGLE             10:01:18         Application
                                 Filed:           and Affidavit
                                 08/15/2017       for
                                                  Search/Seizure Warrant under Rule 41 by
                                                  USA
                                                  Document:
                                                  1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH MULTIPLE
                                 GOOGLE ACCOUNTS THAT IS STORED AT
                                 PREMISES CONTROLLED BY
                                 GOOGLE. (Attachments: # 1 Affidavit, # 2 Search and
                                 Seizure warrant)

1:17-mj-00598-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. THREE APPLE DEVICES       08/15/2017      Affidavit for
CURRENTLY STORED AT              10:05:41        Search/Seizure Warrant under Rule 41 by
[REDACTED].                      Filed:          USA
                                 08/15/2017      Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to THREE APPLE DEVICES CURRENTLY STORED
                                 AT [REDACTED]. (Attachments:
                                 # 1 Affidavit, # 2 Search and Seizure warrant)



                                       6
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 7 of 156


1:17-mj-00605-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    08/17/2017      Affidavit for
WITH THE EMAIL ACCOUNT           10:57:31        Search/Seizure Warrant under Rule 41 by
[REDACTED]                       Filed:          USA
                                 08/17/2017      Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE EMAIL
                                 ACCOUNT [REDACTED]. (Attachments: # 1 Affidavit,
                                 # 2 Letter to the Court, # 3 Search and Seizure warrant)

1:17-mj-00607-BAH *SEALED*       Entered:        Category:
USA v. INFORMATION ASSOCIATED    08/17/2017      misc-cr
WITH EMAIL
ADDRESSES STORED AT PREMISES                     Event:
CONTROLLED
BY YAHOO HOLDINGS, INC, 701      12:11:32        Application
FIRST AVENUE,
SUNNYVALE, CA 97089              Filed:          and Affidavit
                                 08/17/2017      for
                                                 Search/Seizure
                                                 Warrant under
                                                 Rule 41 by USA
                                                 Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH EMAIL
                                 ADDRESSES STORED AT PREMISES CONTROLLED
                                 BY YAHOO HOLDINGS, INC, 701 FIRST AVENUE,
                                 SUNNYVALE, CA 97089.
                                 (Attachments: # 1 Affidavit, # 2 Search and Seizure
                                 warrant)

1:17-mj-00608-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    08/17/2017      Affidavit for
WITH EMAIL ADDRESSES STORED      12:14:45        Search/Seizure Warrant under Rule 41 by
AT PREMISES CONTROLLED BY        Filed:          USA
GOOGLE INC, 1600 AMPHITHEATRE    08/17/2017      Document:
PARKWAY, MOUNTAIN VIEW, CA                       1
94043




                                        7
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 8 of 156


                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH EMAIL
                                 ADDRESSES STORED AT PREMISES CONTROLLED
                                 BY GOOGLE INC, 1600 AMPHITHEATRE
                                 PARKWAY, MOUNTAIN
                                 VIEW, CA 94043. (Attachments: # 1 Affidavit, # 2 Search
                                 and Seizure warrant)

1:17-mj-00609-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    08/17/2017      Affidavit for
WITH EMAIL ADDRESSES STORED      12:17:46        Search/Seizure Warrant under Rule 41 by
AT PREMISES CONTROLLED BY        Filed:          USA
ZOHO CORPORATION, 4141           08/17/2017      Document:
HACIENDA DRIVE, PLEASANTON, CA                   1
94588

                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH EMAIL
                                 ADDRESSES STORED AT PREMISES CONTROLLED
                                 BY ZOHO CORPORATION, 4141 HACIENDA DRIVE,
                                 PLEASANTON, CA 94588.
                                 (Attachments: # 1 Affidavit, # 2 Search and Seizure
                                 warrant)

1:17-mj-00611-BAH *SEALED*       Entered:        Category:
USA v. INFORMATION ASSOCIATED    08/17/2017      misc-cr
WITH THE
EMAIL ACCOUNT [REDACTED]                         Event:
MAINTAINED BY THE FEDERAL        14:57:44        Application
BUREAU OF
INVESTIGATION                    Filed:          and Affidavit
                                 08/17/2017      for
                                                 Search/Seizure Warrant under Rule 41 by
                                                 USA
                                                 Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE EMAIL
                                 ACCOUNT [REDACTED] MAINTAINED BY THE
                                 FEDERAL BUREAU OF INVESTIGATION.
                                 (Attachments: # 1 Affidavit, # 2 Search and Seizure
                                 warrant)



                                       8
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 9 of 156


1:17-mj-00612-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    08/17/2017      Affidavit for
WITH THE EMAIL ACCOUNTS          15:03:48        Search/Seizure Warrant under Rule 41 by
[REDACTED] AND [REDACTED] THAT   Filed:          USA
ARE STORED AT PREMISES           08/17/2017      Document:
CONTROLLED BY RACKSPACE US,                      1
INC.
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE EMAIL
                                 ACCOUNTS [REDACTED] AND [REDACTED] THAT
                                 ARE STORED AT PREMISES CONTROLLED BY
                                 RACKSPACE US, INC. (Attachments: # 1 Affidavit, # 2
                                 Search and Seizure Warrant)

1:17-mj-00614-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    08/18/2017      Affidavit for
WITH THE EMAIL ACCOUNT           13:00:27        Search/Seizure Warrant under Rule 41 by
[REDACTED] THAT IS STORED AT     Filed:          USA
PREMISES CONTROLLED BY APPLE,    08/18/2017      Document:
INC.                                             1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE EMAIL
                                 ACCOUNT [REDACTED] THAT IS STORED AT
                                 PREMISES CONTROLLED
                                 BY APPLE, INC. (Attachments: # 1 Affidavit)

1:17-mj-00633-BAH *SEALED*       Entered:        Category:
USA v. EMAIL ACCOUNTS AND TEN    08/25/2017      misc-cr
ELECTRONIC
DEVICES CURRENTLY LOCATED AT                     Event:
THE FBI
WASHINGTON FIELD OFFICE          9:58:05         Application
                                 Filed:          and Affidavit
                                 08/25/2017      for Search/Seizure Warrant under Rule
                                                 41 by USA
                                                 Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to EMAIL ACCOUNTS AND TEN ELECTRONIC
                                 DEVICES CURRENTLY LOCATED AT THE FBI
                                 WASHINGTON FIELD
                                 OFFICE. (Attachments: # 1 Affidavit)



                                       9
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 10 of 156


1:17-mj-00639-JEB *SEALED*             Entered:        Category: misc- cr
USA v. INFORMATION ASSOCIATED          08/30/2017      Event: Application and Affidavit for
WITH 98 FACEBOOK ACCOUNTS, 38          11:11:48        Search/Seizure Warrant under Rule 41 by
FACEBOOK PAGES, AND 69                 Filed:          USA Document: 1
INSTAGRAM ACCOUNTS THAT ARE            08/30/2017
STORED AT PREMISES CONTROLLED
BY FACEBOOK, INC.



                                       Application and Affidavit for Search Warrant by USA as
                                       to INFORMATION ASSOCIATED WITH 98
                                       FACEBOOK ACCOUNTS, 38 FACEBOOK PAGES,
                                       AND 69 INSTAGRAM ACCOUNTS THAT ARE
                                       STORED AT PREMISES CONTROLLED BY
                                       FACEBOOK, INC. (Attachments: # 1 Affidavit, # 2
                                       Search and Seizure Warrant)

1:17-mj-00650-JEB *SEALED* USA v. IN   Entered:        Category: misc- cr
THE MATTER OF THE SEARCH OF AN         09/01/2017      Event: Application and Affidavit for
APPLE IPHONE WITH IMEI                 09:51:18        Search/Seizure Warrant under Rule 41 by
[REDACTED]                             Filed:          USA Document: 1
                                       09/01/2017
                                       Application and Affidavit for Search Warrant by USA as
                                       to IN THE MATTER OF THE SEARCH OF AN APPLE
                                       iPhone WITH IMEI [REDACTED]. (Attachments: # 1
                                       Affidavit, # 2 Search and Seizure Warrant)

1:17-mj-00651-JEB *SEALED*             Entered:        Category: misc-
USA v. INFORMATION IN 98               09/01/2017      cr
FACEBOOK ACOUNTS, 38                                   Event:
FACEBOOK PAGES & 69                    14:42:31        Application and
INSTAGRAM ACCOUNTS STORED              Filed:          Affidavit for

AT FACEBOOK, INC. AND                  09/01/2017      Search/Seizure
INSTAGRAM, INC.                                        Warrant under
                                                       Rule 41 by USA
                                                       Document: 1




                                             10
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 11 of 156


                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION IN 98 FACEBOOK ACOUNTS, 38
                                 FACEBOOK PAGES & 69 INSTAGRAM ACCOUNTS
                                 STORED AT FACEBOOK, INC. AND INSTAGRAM,
                                 INC. (Attachments: # 1 Affidavit, # 2 Search and Seizure
                                 Warrant)

1:17-mj-00654-BAH *SEALED*       Entered:         Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    09/05/2017       Affidavit for
WITH [REDACTED] STORED AT        16:49:37         Search/Seizure Warrant under Rule 41 by
PREMISES CONTROLLED BY GOOGLE    Filed:           USA
INC, 1600 AMPHITHEATRE           09/05/2017       Document:
PARKWAY, MOUNTAIN VIEW, CA                        1
94043

                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH [REDACTED]
                                 STORED AT PREMISES CONTROLLED BY GOOGLE
                                 INC, 1600 AMPHITHEATRE PARKWAY, MOUNTAIN
                                 VIEW, CA 94043. (Attachments: # 1 Affidavit, # 2 Search
                                 & Search Warrant, # 3 Order to Seal)

1:17-mj-00657-BAH *SEALED*       Entered:         Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    09/07/2017       Affidavit for
WITH 128 FACEBOOK ACCOUNTS, 79   16:52:35         Search/Seizure Warrant under Rule 41 by
FACEBOOK PAGES, AND 47           Filed:           USA
INSTAGRAM ACCOUNTS THAT ARE      09/07/2017       Document:
STORED AT PREMISES CONTROLLED                     1
BY FACEBOOK, INC.



                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH 128
                                 FACEBOOK ACCOUNTS, 79 FACEBOOK PAGES,
                                 AND 47 INSTAGRAM ACCOUNTS THAT ARE
                                 STORED AT PREMISES CONTROLLED BY
                                 FACEBOOK, INC.
                                 (Attachments: # 1 Affidavit, # 2 Letter to the Court, # 3
                                 Search and Seizure Warrant)

1:17-mj-00660-BAH *SEALED*       Entered:         Category:
USA v. INFORMATION ASSOCIATED    09/11/2017       misc-cr
WITH THE


                                       11
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 12 of 156


GOOGLE ACCOUNTS [REDACTED]                       Event:

AND [REDACTED]                   10:28:00        Application
                                 Filed:          and Affidavit for Search/Seizure Warrant
                                 09/11/2017      under Rule 41 by USA
                                                 Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE
                                 GOOGLE ACCOUNTS [REDACTED] AND
                                 [REDACTED].
                                 (Attachments: # 1 Affidavit, # 2 Search & Seizure
                                 Warrant)
1:17-mj-00661-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    09/11/2017      Affidavit for
WITH THE EMAIL ACCOUNT           10:35:15        Search/Seizure Warrant under Rule 41 by
[REDACTED]                       Filed:          USA
                                 09/11/2017      Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE EMAIL
                                 ACCOUNT [REDACTED]. (Attachments: # 1 Affidavit,
                                 # 2 Letter to the Court, # 3 Search & Seizure Warrant)

1:17-mj-00685-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    09/26/2017      Affidavit for
WITH THE ACCOUNT [REDACTED]      15:30:05        Search/Seizure Warrant under Rule 41 by
THAT IS STORED AT PREMESIS       Filed:          USA
CONTROLLED BY GOOGLE, INC.       09/26/2017      Document:
                                                 1

                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE
                                 ACCOUNT [REDACTED] THAT IS STORED AT
                                 PREMESIS CONTROLLED BY
                                 GOOGLE, INC. (Attachments: # 1 Affidavit, # 2 Search &
                                 Seizure Warrant)
1:17-mj-00686-BAH *SEALED*       Entered:        Category:
USA v. EMAIL ACCOUNTS            09/26/2017      misc-cr
[REDACTED],                                      Event:
[REDACTED],                      15:36:14        Application




                                       12
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 13 of 156


[REDACTED], [REDACTED],        Filed:            and Affidavit for Search/Seizure Warrant
[REDACTED], AND TEN ELECTRONIC 09/26/2017        under Rule 41 by USA
DEVICES CURRENTLY                                Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to EMAIL [REDACTED], [REDACTED],
                                 [REDACTED], [REDACTED], [REDACTED], AND
                                 TEN ELECTRONIC DEVICES CURRENTLY.
                                 (Attachments: # 1 Affidavit, # 2 Search & Seizure)

1:17-mj-00687-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    09/27/2017      Affidavit for
WITH THE EMAIL ACCOUNT           09:46:47        Search/Seizure Warrant under Rule 41 by
[REDACTED], LOCATED AT THE       Filed:          USA
PREMISES OF NETWORK SOLUTIONS,   09/27/2017      Document:
LLC                                              1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE EMAIL
                                 ACCOUNT [REDACTED], LOCATED AT THE
                                 PREMISES OF NETWORK
                                 SOLUTIONS, LLC. (Attachments: # 1 Affidavit, # 2
                                 Search and Seizure Warrant)
1:17-mj-00688-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. IN THE MATTER OF THE      09/27/2017      Affidavit for
SEARCH OF INFORMATION            09:50:51        Search/Seizure Warrant under Rule 41 by
ASSOCIATED WITH THE FACEBOOK     Filed:          USA
ACCOUNT [REDACTED], LOCATED      09/27/2017      Document:
AT THE PREMISES CONTROLLED BY                    1
FACEBOOK, INC.

                                 Application and Affidavit for Search Warrant by USA as
                                 to IN THE MATTER OF THE SEARCH OF
                                 INFORMATION ASSOCIATED WITH THE
                                 FACEBOOK ACCOUNT [REDACTED], LOCATED AT
                                 THE PREMISES CONTROLLED BY
                                 FACEBOOK, INC. (Attachments: # 1 Affidavit, # 2
                                 Search and Seizure Warrant)




                                       13
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 14 of 156


1:17-mj-00695-BAH *SEALED*       Entered:         Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    09/28/2017       Affidavit for
WITH THE EMAIL ACCOUNT           09:30:21         Search/Seizure Warrant under Rule 41 by
[REDACTED]                       Filed:           USA
                                 09/28/2017       Document:
                                                  1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE EMAIL
                                 ACCOUNT [REDACTED].
                                 (Attachments: # 1 Affidavit, # 2 Letter to the Judge, # 3
                                 Search & Seizure Warrant)
1:17-mj-00697-BAH *SEALED*       Entered:         Category: misc-cr Event: Application and
USA v. VARIOUS ELECTRONIC        09/28/2017       Affidavit for
DEVICES BELONGING TO             15:59:41         Search/Seizure Warrant under Rule 41 by
[REDACTED]                       Filed:           USA
                                 09/28/2017       Document:
                                                  1
                                 Application and Affidavit for Search Warrant by USA as
                                 to VARIOUS ELECTRONIC DEVICES BELONGING
                                 TO [REDACTED].
                                 (Attachments: # 1 Affidavit, # 2 Search and Seizure
                                 Warrant)
1:17-mj-00720-BAH *SEALED*       Entered:         Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    10/05/2017       Affidavit for
WITH THE FACEBOOK ACCOUNT        09:22:30         Search/Seizure Warrant under Rule 41 by
[REDACTED]                       Filed:           USA
                                 10/05/2017       Document:
                                                  1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE
                                 FACEBOOK ACCOUNT [REDACTED].
                                 (Attachments: # 1 Affidavit, # 2 Search and Seizure
                                 Warrant)

1:17-mj-00724-BAH *SEALED*       Entered:         Category: misc-cr Event:
USA v. IN THE MATTER OF THE      10/05/2017
SEARCH OF INFORMATION
ASSOCIATED WITH THE GOOGLE




                                       14
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 15 of 156


ACCOUNT [REDACTED]              11:20:56        Application and Affidavit for
                                Filed:          Search/Seizure Warrant under Rule 41 by
                                10/05/2017      USA
                                                Document:
                                                1
                                Application and Affidavit for Search Warrant by USA as
                                to IN THE MATTER OF THE SEARCH OF
                                INFORMATION ASSOCIATED WITH THE GOOGLE
                                ACCOUNT [REDACTED]. (Attachments: # 1 Affidavit,
                                # 2 Search and Seizure Warrant)

1:17-mj-00736-BAH *SEALED*      Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED   10/11/2017      Affidavit for
WITH THE TWITTER ACCOUNT        16:19:33        Search/Seizure Warrant under Rule 41 by
[REDACTED]                      Filed:          USA
                                10/11/2017      Document:
                                                1
                                Application and Affidavit for Search Warrant by USA as
                                to INFORMATION ASSOCIATED WITH THE
                                TWITTER ACCOUNT [REDACTED]. (Attachments: # 1
                                Affidavit, # 2 Search and Seizure Warrant)

1:17-mj-00737-BAH *SEALED*      Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED   10/12/2017      Affidavit for
WITH 116 INSTAGRAM ACCOUNTS     12:37:03        Search/Seizure Warrant under Rule 41 by
THAT ARE STORED AT PREMISES     Filed:          USA
CONTROLLED BY INSTAGRAM, LLC    10/12/2017      Document:
                                                1

                                Application and Affidavit for Search Warrant by USA as
                                to INFORMATION ASSOCIATED WITH 116
                                INSTAGRAM ACCOUNTS THAT ARE STORED AT
                                PREMISES CONTROLLED BY
                                INSTAGRAM, LLC. (Attachments: # 1 Affidavit)

1:17-mj-00757-BAH *SEALED*      Entered:        Category:
USA v. INFORMATION ASSOCIATED   10/16/2017      misc-cr
WITH
[REDACTED]                                      Event:
                                13:56:34        Application
                                Filed:          and Affidavit




                                      15
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 16 of 156


                                 10/16/2017      for Search/Seizure Warrant under Rule
                                                 41 by USA
                                                 Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH
                                 [REDACTED]. (Attachments: # 1 Affidavit, # 2 Search
                                 and Seizure Warrant)

1:17-mj-00760-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    10/17/2017      Affidavit for
WITH [REDACTED]                  10:29:36        Search/Seizure Warrant under Rule 41 by
                                 Filed:          USA
                                 10/17/2017      Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH
                                 [REDACTED]. (Attachments: # 1 Affidavit, # 2 Search
                                 and Seizure Warrant)

1:17-mj-00773-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    10/19/2017      Affidavit for
WITH FORTY- TWO EMAIL            16:25:08        Search/Seizure Warrant under Rule 41 by
ACCOUNTS STORED AT PREMISES      Filed:          USA
CONTROLLED BY YAHOO HOLDINGS     10/19/2017      Document:
INC.                                             1

                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH FORTY-TWO
                                 EMAIL ACCOUNTS STORED AT PREMISES
                                 CONTROLLED BY YAHOO
                                 HOLDINGS INC. (Attachments: # 1 Affidavit, # 2 Search
                                 and Seizure Warrant, # 3 Letter to the Court)



1:17-mj-00780-BAH *SEALED*       Entered:        Category:
USA v. VARIOUS DEVICES           10/25/2017      misc-cr
BELONGING TO [REDACTED]
                                                 Event:
                                 15:05:13        Application
                                 Filed:          and Affidavit
                                 10/25/2017      for
                                                 Search/Seizure


                                       16
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 17 of 156


                                                Warrant under
                                                Rule 41 by
                                                USA
                                                Document:
                                                1
                                Application and Affidavit for Search Warrant by USA as
                                to VARIOUS DEVICES BELONGING TO
                                [REDACTED]. (Attachments: # 1 Affidavit, # 2 Search
                                and Seizure Warrant)

1:17-mj-00782-BAH *SEALED*      Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED   10/26/2017      Affidavit for
WITH 69 EMAIL ACCOUNTS STORED   11:05:50        Search/Seizure Warrant under Rule 41 by
AT PREMISES CONTROLLED BY       Filed:          USA
GOOGLE                          10/26/2017      Document:
                                                1
                                Application and Affidavit for Search Warrant by USA as
                                to INFORMATION ASSOCIATED WITH 69 EMAIL
                                ACCOUNTS STORED AT PREMISES CONTROLLED
                                BY GOOGLE. (Attachments: # 1
                                Affidavit, # 2 Search and Seizure Warrant, # 3 Letter to
                                the Court)

1:17-mj-00783-BAH *SEALED*      Entered:        Category: misc-cr Event: Application and
USA v. FUNDS NOT TO EXCEED      10/26/2017      Affidavit for
$1,100,637 FROM BANK ACCOUNT    11:13:44        Search/Seizure Warrant under Rule 41 by
NO. [REDACTED] AT THE FEDERAL   Filed:          USA
SAVINGS BANK HELD IN THE NAME   10/26/2017      Document:
OF [REDACTED].                                  1

                                Application and Affidavit for Seizure Warrant by USA as
                                to FUNDS NOT TO EXCEED $1,100,637 FROM BANK
                                ACCOUNT NO. [REDACTED] AT THE FEDERAL
                                SAVINGS BANK HELD IN THE NAME OF
                                [REDACTED]. (Attachments:
                                # 1 Affidavit, # 2 Seizure Warrant)

1:17-mj-00784-BAH *SEALED*      Entered:        Category:
USA v. FUNDS NOT TO EXCEED      10/26/2017      misc-cr
$3,755,892.64 FROM
BANK ACCOUNT NO. [REDACTED]                     Event:
AT CHARLES
SCHWAB & CO. INC.               11:19:23        Application


                                      17
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 18 of 156


                                  Filed:          and Affidavit
                                  10/26/2017      for
                                                  Search/Seizure
                                                  Warrant under
                                                  Rule 41 by
                                                  USA
                                                  Document:
                                                  1
                                  Application and Affidavit for Seizure Warrant by USA as
                                  to FUNDS NOT TO EXCEED
                                  $3,755,892.64 FROM BANK ACCOUNT NO.
                                  [REDACTED] AT CHARLES SCHWAB & CO. INC.
                                  (Attachments: # 1 Affidavit, # 2 Seizure Warrant)

1:17-mj-00785-BAH *SEALED*        Entered:        Category: misc-cr Event: Application and
USA v. FUNDS NOT TO EXCEED        10/26/2017      Affidavit for
$271,000 FROM BANK ACCOUNT NO.    11:26:44        Search/Seizure Warrant under Rule 41 by
[REDACTED] AT CAPITAL ONE, N.A.   Filed:          USA
HELD IN THE NAME OF [REDACTED]    10/26/2017      Document:
                                                  1
                                  Application and Affidavit for Seizure Warrant by USA as
                                  to FUNDS NOT TO EXCEED $271,000 FROM BANK
                                  ACCOUNT NO. [REDACTED] AT CAPITAL ONE,
                                  N.A. HELD IN THE NAME OF
                                  [REDACTED]. (Attachments: # 1 Affidavit, # 2 Seizure
                                  Warrant)

1:17-mj-00821-BAH *SEALED*        Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED     11/06/2017      Affidavit for
WITH THE TWITIER ACCOUNTS         14:04:47        Search/Seizure Warrant under Rule 41 by
[REDACTED] AND [REDACTED]         Filed:          USA
                                  11/06/2017      Document:
                                                  1
                                  Application and Affidavit for Search Warrant by USA as
                                  to INFORMATION ASSOCIATED WITH

                                  THE TWITIER ACCOUNTS [REDACTED] AND
                                  [REDACTED]. (Attachments: # 1 Affidavit, # 2 Search
                                  and Seizure)




                                        18
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 19 of 156


1:17-mj-00826-BAH *SEALED*      Entered:         Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED   11/07/2017       Affidavit for
WITH [REDACTED], WHICH IS       12:25:08         Search/Seizure Warrant under Rule 41 by
STORED AT PREMISES CONTROLLED   Filed:           USA
BY GOOGLE                       11/07/2017       Document:
                                                 1
                                Application and Affidavit for Search Warrant by USA as
                                to INFORMATION ASSOCIATED WITH
                                [REDACTED], WHICH IS STORED AT PREMISES
                                CONTROLLED BY
                                GOOGLE. (Attachments: # 1 Affidavit, # 2 Exhibit Letter
                                to the Court, # 3 Exhibit Search and Seizure Warrant)

1:17-mj-00827-BAH *SEALED*      Entered:         Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED   11/07/2017       Affidavit for
WITH THIRTY- FOUR EMAIL         12:35:46         Search/Seizure Warrant under Rule 41 by
ACCOUNTS STORED AT PREMISES     Filed:           USA
CONTROLLED BY MICROSOFT         11/07/2017       Document:
CORPORATION                                      1

                                Application and Affidavit for Search Warrant by USA as
                                to INFORMATION ASSOCIATED WITH THIRTY-
                                FOUR EMAIL ACCOUNTS STORED AT PREMISES
                                CONTROLLED BY MICROSOFT
                                CORPORATION. (Attachments: # 1 Affidavit, # 2 Exhibit
                                Letter to the Court, # 3 Exhibit Search and Seizure
                                Warrant)

1:17-mj-00828-BAH *SEALED*      Entered:         Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED   11/07/2017       Affidavit for
WITH [REDACTED], WHICH IS       12:40:32         Search/Seizure Warrant under Rule 41 by
STORED AT PREMISES CONTROLLED   Filed:           USA
BY TWITTER                      11/07/2017       Document:
                                                 1
                                Application and Affidavit for Search Warrant by USA as
                                to INFORMATION ASSOCIATED WITH

                                [REDACTED], WHICH IS STORED AT PREMISES
                                CONTROLLED BY TWITTER.
                                (Attachments: # 1 Affidavit, # 2 Exhibit Letter to the
                                Court, # 3 Exhibit Search and Seizure Warrant)




                                      19
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 20 of 156


1:17-mj-00829-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. IN THE MATTER OF THE      11/07/2017      Affidavit for
SEARCH OF INFORMATION            12:45:36        Search/Seizure Warrant under Rule 41 by
ASSOCIATED WITH [REDACTED]       Filed:          USA
THAT IS STORED AT PREMISES       11/07/2017      Document:
CONTROLLED BY APPLE, INC.                        1

                                 Application and Affidavit for Search Warrant by USA as
                                 to IN THE MATTER OF THE SEARCH OF
                                 INFORMATION ASSOCIATED WITH [REDACTED]
                                 THAT IS STORED AT PREMISES CONTROLLED
                                 BY APPLE, INC. (Attachments: # 1 Affidavit, # 2 Exhibit
                                 Search and Seizure Warrant)

1:17-mj-00845-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    11/09/2017      Affidavit for
WITH THE GOOGLE ACCOUNT          14:54:59        Search/Seizure Warrant under Rule 41 by
[REDACTED] THAT IS STORED AT     Filed:          USA
PREMESIS CONTROLLED BY           11/09/2017      Document:
GOOGLE, INC.                                     1

                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE
                                 GOOGLE ACCOUNT [REDACTED] THAT IS STORED
                                 AT PREMESIS CONTROLLED BY GOOGLE, INC.
                                 (Attachments: # 1 Affidavit, # 2 Errata Search and Seizure
                                 Warrant)

1:17-mj-00846-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    11/09/2017      Affidavit for
WITH THE ACCOUNT [REDACTED]      15:00:39        Search/Seizure Warrant under Rule 41 by
THAT IS STORED AT PREMESIS       Filed:          USA
CONTROLLED BY APPLE, INC.        11/09/2017      Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE
                                 ACCOUNT [REDACTED] THAT IS STORED AT
                                 PREMESIS CONTROLLED BY
                                 APPLE, INC. (Attachments: # 1 Affidavit, # 2 Exhibit
                                 Search and Seizure Warrant)




                                       20
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 21 of 156


1:17-mj-00854-BAH *SEALED*        Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED     11/13/2017      Affidavit for
WITH THE ACCOUNT [REDACTED],      18:13:21        Search/Seizure Warrant under Rule 41 by
WHICH IS STORED AT THE PREMISES   Filed:          USA
OF 1&1 INTERNET, INC.             11/13/2017      Document:
                                                  1
                                  Application and Affidavit for Search Warrant by USA as
                                  to INFORMATION ASSOCIATED WITH THE
                                  ACCOUNT [REDACTED], WHICH IS STORED AT
                                  THE PREMISES OF 1&1
                                  INTERNET, INC. (Attachments: # 1 Affidavit, # 2 Exhibit
                                  Search and Seizure Warrant)
1:17-mj-00855-BAH *SEALED*        Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED     11/13/2017      Affidavit for
WITH THE EMAIL ACCOUNT            18:26:49        Search/Seizure Warrant under Rule 41 by
[REDACTED]                        Filed:          USA
                                  11/13/2017      Document:
                                                  1
                                  Application and Affidavit for Search Warrant by USA as
                                  to INFORMATION ASSOCIATED WITH THE EMAIL
                                  ACCOUNT [REDACTED]. (Attachments: # 1 Affidavit,
                                  # 2 Exhibit Search Warrant)

1:17-mj-00867-JEB *SEALED*        Entered:        Category: misc- cr
USA v. INFORMATION ASSOCIATED     11/16/2017      Event: Application and Affidavit for
WITH FIVE ACCOUNTS THAT ARE       10:50:58        Search/Seizure Warrant under Rule 41 by
STORED AT PREMISES CONTROLLED     Filed:          USA Document: 1
BY GOOGLE                         11/16/2017

                                  Application and Affidavit for Search Warrant by USA as
                                  to INFORMATION ASSOCIATED WITH FIVE
                                  ACCOUNTS THAT ARE STORED AT PREMISES
                                  CONTROLLED BY GOOGLE. (Attachments: # 1
                                  Affidavit, # 2 Exhibit Search and Seizure Warrant)

1:17-mj-00868-JEB *SEALED*        Entered:        Category: misc- cr
USA v. INFORMATION ASSOCIATED     11/16/2017      Event: Application and Affidavit for
WITH [REDACTED] THAT IS STORED    12:51:34        Search/Seizure Warrant under Rule 41 by
AT PREMISES CONTROLLED BY         Filed:          USA Document: 1
APPLE, INC.                       11/16/2017




                                        21
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 22 of 156


                                Application and Affidavit for Search Warrant by USA as
                                to INFORMATION ASSOCIATED WITH [REDACTED]
                                THAT IS STORED AT PREMISES CONTROLLED BY
                                APPLE,
                                INC. (Attachments: # 1 Affidavit, # 2 Exhibit Search and
                                Seizure Warrant)
1:17-mj-00877-BAH *SEALED*      Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED   11/17/2017      Affidavit for
WITH THE DROPBOX ACCOUNT        15:07:08        Search/Seizure Warrant under Rule 41 by
[REDACTED] THAT IS STORED AT    Filed:          USA
PREMISES CONTROLLED BY          11/17/2017      Document:
DROPBOX INC.                                    1

                                Application and Affidavit for Search Warrant by USA as
                                to INFORMATION ASSOCIATED WITH THE
                                DROPBOX ACCOUNT [REDACTED] THAT IS
                                STORED AT PREMISES CONTROLLED BY
                                DROPBOX INC.
                                (Attachments: # 1 Affidavit, # 2 Exhibit Search and
                                Seizure Warrant)

1:17-mj-00878-JEB *SEALED*      Entered:        Category: misc- cr
USA v. INFORMATION ASSOCIATED   11/17/2017      Event: Application and Affidavit for
WITH THE ACCOUNT [REDACTED]     15:03:09        Search/Seizure Warrant under Rule 41 by
THAT IS STORED AT PREMISES      Filed:          USA Document: 1
CONTROLLED BY GOOGLE, INC.      11/17/2017



                                Application and Affidavit for Search Warrant by USA as

                                to INFORMATION ASSOCIATED WITH THE
                                ACCOUNT [REDACTED] THAT IS STORED AT
                                PREMISES CONTROLLED BY GOOGLE, INC.
                                (Attachments: # 1 Affidavit, # 2 Exhibit Search and
                                Seizure Warrant)
1:17-mj-00904-BAH *SEALED*      Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED   11/27/2017      Affidavit for
WITH [REDACTED], WHICH IS       12:57:38        Search/Seizure Warrant under Rule 41 by
STORED AT PREMISES CONTROLLED   Filed:          USA
BY GOOGLE                       11/27/2017      Document:
                                                1




                                      22
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 23 of 156


                                Application and Affidavit for Search Warrant by USA as
                                to INFORMATION ASSOCIATED WITH
                                [REDACTED], WHICH IS STORED AT PREMISES
                                CONTROLLED BY GOOGLE. (Attachments: # 1
                                Affidavit, # 2 Exhibit Search Warrant, # 3 Exhibit Cover
                                Letter)
1:17-mj-00905-BAH *SEALED*      Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED   11/27/2017      Affidavit for
WITH THREE GOOGLE ACCOUNTS      13:02:23        Search/Seizure Warrant under Rule 41 by
THAT ARE STORED AT PREMISES     Filed:          USA
CONTROLLED BY GOOGLE            11/27/2017      Document:
                                                1
                                Application and Affidavit for Search Warrant by USA as
                                to INFORMATION ASSOCIATED WITH THREE
                                GOOGLE ACCOUNTS THAT ARE STORED AT
                                PREMISES CONTROLLED BY GOOGLE.
                                (Attachments: # 1 Affidavit, # 2 Exhibit Search Warrant, #
                                3 Exhibit Cover Letter)
1:17-mj-00912-BAH *SEALED*      Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED   11/29/2017      Affidavit for
WITH SEVEN GOOGLE ACCOUNTS      10:35:35        Search/Seizure Warrant under Rule 41 by
THAT ARE STORED AT PREMISES     Filed:          USA
CONTROLLED BY GOOGLE            11/29/2017      Document:
                                                1
                                Application and Affidavit for Search Warrant by USA as
                                to INFORMATION ASSOCIATED WITH SEVEN
                                GOOGLE ACCOUNTS THAT ARE STORED AT
                                PREMISES CONTROLLED BY
                                GOOGLE. (Attachments: # 1 Affidavit, # 2 Exhibit Search
                                and Seaizure Warrant, # 3 Errata Letter to the Court)



1:17-mj-00916-BAH *SEALED*      Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED   11/30/2017      Affidavit for
WITH THE EMAIL ACCOUNT          10:47:11        Search/Seizure Warrant under Rule 41 by
[REDACTED] THAT IS STORED AT    Filed:          USA
PREMISES CONTROLLED BY GOOGLE   11/30/2017      Document:
                                                1




                                      23
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 24 of 156


                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE EMAIL
                                 ACCOUNT [REDACTED] THAT IS STORED AT
                                 PREMISES CONTROLLED BY
                                 GOOGLE. (Attachments: # 1 Affidavit, # 2 Exhibit Search
                                 and Seizure Warrant)

1:17-mj-00917-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    11/30/2017      Affidavit for
WITH [REDACTED] THAT IS STORED   10:51:33        Search/Seizure Warrant under Rule 41 by
AT PREMISES CONTROLLED BY        Filed:          USA
MICROSOFT CORPORATION            11/30/2017      Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH

                                 [REDACTED] THAT IS STORED AT PREMISES
                                 CONTROLLED BY MICROSOFT CORPORATION.
                                 (Attachments: # 1 Affidavit, # 2 Exhibit Search and
                                 Seizure Warrant)
1:17-mj-00926-BAH *SEALED*       Entered:         Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    12/01/2017       Affidavit for
WITH THE GOOGLE ACCOUNT          14:46:25         Search/Seizure Warrant under Rule 41 by
[REDACTED]                       Filed:           USA
                                 12/01/2017       Document:
                                                  1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THE
                                 GOOGLE ACCOUNT [REDACTED]. (Attachments: # 1
                                 Affidavit, # 2 Exhibit Search and Seizure Warrant)

1:17-mj-00936-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    12/06/2017      Affidavit for
WITH EIGHTEEN ACCOUNTS THAT      13:09:19        Search/Seizure Warrant under Rule 41 by
ARE STORED AT PREMISES           Filed:          USA
CONTROLLED BY GOOGLE             12/06/2017      Document:
                                                 1




                                       24
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 25 of 156


                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH EIGHTEEN
                                 ACCOUNTS THAT ARE STORED AT PREMISES
                                 CONTROLLED BY GOOGLE.
                                 (Attachments: # 1 Affidavit, # 2 Search and Seizure
                                 Warratn, # 3 Letter to the Court)

1:17-mj-00946-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    12/08/2017      Affidavit for
WITH [REDACTED] AND              10:20:33        Search/Seizure Warrant under Rule 41 by
[REDACTED]THAT IS STORED AT      Filed:          USA
PREMISES CONTROLLED BY APPLE     12/08/2017      Document:
                                                 1

                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH [REDACTED]
                                 AND [REDACTED] THAT IS STORED AT PREMISES
                                 CONTROLLED BY APPLE. (Attachments: # 1 Affidavit,
                                 # 2 Search and Seizure Warrant)

1:17-mj-00960-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    12/13/2017      Affidavit for
WITH SEVEN ACCOUNTS THAT ARE     14:57:06        Search/Seizure Warrant under Rule 41 by
STORED AT PREMISES CONTROLLED    Filed:          USA
BY GOOGLE                        12/13/2017      Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH SEVEN
                                 ACCOUNTS THAT ARE STORED AT PREMISES
                                 CONTROLLED BY GOOGLE.
                                 (Attachments: # 1 Affidavit, # 2 Search and Seizure
                                 Warrant, # 3 Letter to the Court)

1:17-mj-00961-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    12/13/2017      Affidavit for
WITH [REDACTED] AND [REDACTED]   15:03:07        Search/Seizure Warrant under Rule 41 by
THAT ARE STORED AT PREMISES      Filed:          USA
CONTROLLED BY APPLE INC.         12/13/2017      Document:
                                                 1




                                       25
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 26 of 156


                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH [REDACTED]
                                 AND [REDACTED] THAT ARE STORED AT
                                 PREMISES CONTROLLED BY APPLE INC.
                                 (Attachments: # 1 Affidavit, # 2 Search and Seizure
                                 Warrant, # 3 Letter to the Court)

1:17-mj-00982-BAH *SEALED*       Entered:         Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    12/19/2017       Affidavit for
WITH [REDACTED]                  13:45:41         Search/Seizure Warrant under Rule 41 by
                                 Filed:           USA
                                 12/19/2017       Document:
                                                  1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH
                                 [REDACTED]. (Attachments: # 1 Affidavit, # 2 Search
                                 and Seizure Warrant)
1:17-mj-00986-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. FOURTEEN IMAGE FILES      12/20/2017      Affidavit for
PRODUCED BY [REDACTED]           09:38:58        Search/Seizure Warrant under Rule 41 by
CURRENTLY LOCATED AT THE         Filed:          USA
SPECIAL COUNSEL'S OFFICE         12/20/2017      Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to FOURTEEN IMAGE FILES PRODUCED BY
                                 [REDACTED] CURRENTLY LOCATED AT THE
                                 SPECIAL COUNSEL'S OFFICE. (Attachments: # 1
                                 Affidavit, # 2 Letter to the Court, # 3 Search and Seizure
                                 Warrant)
1:17-mj-00987-BAH *SEALED*       Entered:         Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    12/20/2017       Affidavit for
WITH FOURTEEN ACCOUNTS THAT      09:44:44         Search/Seizure Warrant under Rule 41 by
ARE STORED AT PREMISES           Filed:           USA
CONTROLLED BY GOOGLE             12/20/2017       Document:
                                                  1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH FOURTEEN
                                 ACCOUNTS THAT ARE STORED AT PREMISES
                                 CONTROLLED BY GOOGLE.
                                 (Attachments: # 1 Affidavit, # 2 Letter to the Court, # 3
                                 Search and Seizure Warrant)




                                       26
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 27 of 156


1:17-mj-00988-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    12/20/2017      Affidavit for
WITH TWITTER ACCOUNTS            16:25:24        Search/Seizure Warrant under Rule 41 by
[REDACTED], [REDACTED], AND      Filed:          USA
[REDACTED], WHICH IS STORED AT   12/20/2017      Document:
PREMISES CONTROLLED BY                           1
TWITTER, INC.

                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH TWITTER
                                 ACCOUNTS [REDACTED], [REDACTED], AND
                                 [REDACTED], WHICH IS STORED AT PREMISES
                                 CONTROLLED BY TWITTER, INC. (Attachments: # 1
                                 Affidavit)
1:17-mj-00989-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    12/20/2017      Affidavit for
WITH VARIOUS APPLE IDS           11:26:03        Search/Seizure Warrant under Rule 41 by
                                 Filed:          USA
                                 12/20/2017      Document:
                                                 1
                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH
                                 VARIOUS APPLE IDS. (Attachments: # 1 Affidavit, # 2
                                 Search and Seizure Warrant)

1:17-mj-00997-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    12/21/2017      Affidavit for
WITH THREE GOOGLE ACCOUNTS       16:35:32        Search/Seizure Warrant under Rule 41 by
THAT ARE STORED AT PREMISES      Filed:          USA
CONTROLLED BY GOOGLE, INC.       12/21/2017      Document:
                                                 1

                                 Application and Affidavit for Search Warrant by USA as
                                 to INFORMATION ASSOCIATED WITH THREE
                                 GOOGLE ACCOUNTS THAT ARE STORED AT
                                 PREMISES CONTROLLED BY
                                 GOOGLE, INC. (Attachments: # 1 Affidavit, # 2 Exhibit
                                 Redacted Indictment, # 3 Search and Seizure Warrant)




                                       27
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 28 of 156


1:17-mj-01012-KBJ *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. INFORMATION ASSOCIATED    12/27/2017      Affidavit for
WITH [REDACTED] THAT IS STORED   14:27:12        Search/Seizure Warrant under Rule 41 by
AT PREMISES CONTROLLED BY        Filed:          USA
APPLE, INC.                      12/27/2017      Document:
                                                 1
                                 Application and Affidavit for Search/Seizure Warrant by
                                 USA as to INFORMATION ASSOCIATED WITH
                                 [REDACTED] THAT IS STORED AT PREMISES
                                 CONTROLLED BY
                                 APPLE, INC. (Attachments: # 1 Affidavit, # 2 Exhibit
                                 Search and Seizure Warrant)
1:18-sc-00002-BAH *SEALED*       Entered:        Category:
INFORMATION ASSOCIATED WITH      01/05/2018      misc

[REDACTED],                                      Event:
[REDACTED], AND                  13:02:07        Application
[REDACTED] THAT ARE STORED       Filed:          for
AT PREMISES CONTROLLED BY        01/02/2018      Search/Seizure
MICROSOFT
CORPORATION                                       Warrant- 18
CASE CLOSED on 08/03/2018                         U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search and Seizure Warrant, # 3 Letter to the Court)

1:18-sc-00003-BAH *SEALED*       Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      01/05/2018      Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT     13:36:10        U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY APPLE,    Filed:          2703 (c)(1)(A) Document:
INC. CASE CLOSED on 02/07/2018   01/02/2018      1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit)




                                       28
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 29 of 156


1:18-sc-00004-BAH *SEALED*        Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       01/05/2018     Search/Seizure Warrant- 18
[REDACTED] AND [REDACTED] et al   13:44:56       U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 01/11/2018         Filed:         2703 (c)(1)(A) Document:
                                  01/02/2018     1
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit)

1:18-sc-00032-BAH *SEALED*        Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       01/05/2018     Search/Seizure Warrant- 18
TWENTY-FOUR ACCOUNTS THAT         15:17:47       U.S.C. 2703 (a), 2703(b)(1) (A), and
ARE STORED AT PREMISES            Filed:         2703 (c)(1)(A) Document:
CONTROLLED BY GOOGLE              01/05/2018     1
CASE CLOSED on 08/03/2018

                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search and Seizure Warrant, # 3 Letter to the Court)

1:18-sc-00051-BAH *SEALED*        Entered:       Category:
IN RE: INFORMATION ASSOCIATED     01/09/2018     misc
WITH EIGHT
ACCOUNTS THAT ARE STORED AT                      Event:
PREMISES
CASE CLOSED on 08/03/2018         10:10:24         Application
                                  Filed:           for
                                  01/09/2018       Search/Seizure
                                                   Warrant- 18
                                                   U.S.C. 2703
                                                   (a), 2703(b)(1)
                                                   (A), and 2703
                                                   (c)(1)(A)
                                                   Document:
                                                   1
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search and Seizure Warrant, # 3 Letter to the Court)




                                        29
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 30 of 156


1:18-sc-00079-BAH *SEALED*          Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         01/11/2018     Search/Seizure Warrant- 18
THE EMAIL ADDRESS [REDACTED]        13:05:16       U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 01/11/2018           Filed:         2703 (c)(1)(A) Document:
                                    01/11/2018     1
                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search and Seizure Warrant)
1:18-sc-00097-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   01/16/2018       Search/Seizure Warrant- 18
SIX GOOGLE ACCOUNTS THAT ARE 14:13:52          U.S.C. 2703 (a), 2703(b)(1) (A), and
STORED AT PREMISES CONTROLLED Filed:           2703 (c)(1)(A) Document:
BY GOOGLE                     01/16/2018       3
CASE CLOSED on 08/03/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search and Seizure Warrant)

1:18-sc-00098-BAH *SEALED*          Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         01/16/2018     Search/Seizure Warrant- 18
[REDACTED],WHICH IS STORED AT       10:00:25       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY GOOGLE       Filed:         2703 (c)(1)(A) Document:
CASE CLOSED on 08/03/2018           01/16/2018     1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search and Seizure Warrant, # 3 Letter to the Court)

1:18-sc-00103-BAH *SEALED*          Entered:       Category:
INFORMATION ASSOCIATED WITH         01/16/2018     misc
FIVE GOOGLE
ACCOUNTS THAT ARE STORED AT                        Event:
PREMISES
CONTROLLED BY GOOGLE                13:03:20       Application
CASE CLOSED on 08/03/2018           Filed:         for
                                    01/16/2018     Search/Seizure
                                                   Warrant- 18
                                                   U.S.C. 2703
                                                   (a), 2703(b)(1)


                                         30
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 31 of 156


                                                     (A), and 2703
                                                     (c)(1)(A)
                                                     Document:
                                                     1
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search and Seizure Warrant, # 3 Letter to the Court)

1:18-sc-00114-BAH *SEALED*          Entered:       Category: misc Event: Application for
VARIOUS DEVICES BELONGING TO        01/17/2018     Search/Seizure Warrant- 18
[REDACTED]                          14:38:53       U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 02/07/2018           Filed:         2703 (c)(1)(A) Document:
                                    01/17/2018     1
                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search and Seizure Warrant)
1:18-sc-00133-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   01/18/2018       Search/Seizure Warrant- 18
THIRTEEN ACCOUNTS THAT ARE    12:53:46         U.S.C. 2703 (a), 2703(b)(1) (A), and
STORED AT PREMISES CONTROLLED Filed:           2703 (c)(1)(A) Document:
BY GOOGLE                     01/18/2018       1
CASE CLOSED on 07/02/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search and Seizure Warrant, # 3 Letter to the Court)

1:18-sc-00165-BAH *SEALED*    Entered:             Category:
INFORMATION ASSOCIATED WITH   01/23/2018           misc
TWELVE
GOOGLE ACCOUNTS THAT ARE                           Event:
STORED AT
PREMISES CONTROLLED BY GOOGLE 12:47:19             Application

                                    Filed:         for
                                    01/23/2018     Search/Seizure
                                                   Warrant- 18
                                                   U.S.C. 2703
                                                   (a), 2703(b)(1)
                                                   (A), and 2703


                                         31
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 32 of 156


                                                 (c)(1)(A)
                                                 Document:
                                                 1
                                     APPLICATION for Search/Seizure Warrant by USA

                                     pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED

                             STATES OF AMERICA. (Attachments: # 1
                             Affidavit, # 2 Search and Seizure Warrant)
1:18-sc-00166-BAH *SEALED*   Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH  01/23/2018       Search/Seizure Warrant- 18
TWO ACCOUNTS THAT ARE STORED 12:54:32         U.S.C. 2703 (a), 2703(b)(1) (A), and
AT PREMISES CONTROLLED BY    Filed:           2703 (c)(1)(A) Document:
APPLE INC.                   01/23/2018       1
CASE CLOSED on 07/02/2018
                                     APPLICATION for Search/Seizure Warrant by USA
                                     pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                     STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                     Search and Seizure Warrant)
1:18-sc-00167-BAH *SEALED*           Entered:         Category:
INFORMATION ASSOCIATED WITH          01/23/2018       misc

[REDACTED] THAT IS STORED AT                         Event:

PREMISES CONTROLLED BY GOOGLE 13:02:37               Application

CASE CLOSED on 07/02/2018            Filed:           for
                                     01/23/2018       Search/Seizure
                                                      Warrant- 18
                                                      U.S.C. 2703
                                                      (a), 2703(b)(1)
                                                      (A), and 2703
                                                      (c)(1)(A)
                                                      Document:
                                                      1
                                     APPLICATION for Search/Seizure Warrant by USA
                                     pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                     STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                     Search and Seizure warrant)




                                           32
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 33 of 156


1:18-sc-00243-BAH *SEALED*          Entered:        Category: misc Event: Application for
INFORMATION STORED ON AN            01/31/2018      Search/Seizure Warrant- 18
IPHONE 7 WITH SERIAL NUMBER         11:59:47        U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED] BELONGING TO             Filed:          2703 (c)(1)(A) Document:
[REDACTED]                          01/31/2018      1
CASE CLOSED on 02/07/2018
                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search and Seizure Warrant)
1:18-sc-00262-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   02/01/2018       Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT  13:03:58         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY GOOGLE Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 07/02/2018     02/01/2018       1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search and Seizure Warrant)
1:18-sc-00263-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         02/01/2018       misc
APPLE ID
[REDACTED], DSID [REDACTED]                         Event:
AND [REDACTED] THAT ARE       13:12:21              Application
STORED AT PREMISES CONTROLLED Filed:                for
BY APPLE INC.
CASE CLOSED on 07/02/2018     02/01/2018        Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)
                                                Document:
                                                1
                                    APPLICATION for Search/Seizure Warrant by USA

                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED

                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search and Seizure Warrant)
1:18-sc-00376-BAH *SEALED*          Entered:        Category:



                                          33
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 34 of 156


INFORMATION ASSOCIATED WITH      02/14/2018      misc

[REDACTED] AND                                   Event:
[REDACTED] THAT ARE           14:42:26           Application
STORED AT PREMISES CONTROLLED Filed:             for
BY GOOGLE
CASE CLOSED on 07/02/2018     02/14/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search and Seizure Warrant)
1:18-sc-00409-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      02/16/2018       Search/Seizure Warrant- 18
THE CELLULAR TELEPHONE           13:32:20         U.S.C. 2703 (a), 2703(b)(1) (A), and
ASSIGNED CALL NUMBER             Filed:           2703 (c)(1)(A) Document:
[REDACTED] CASE CLOSED on        02/16/2018       1
06/27/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-00469-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      02/23/2018       Search/Seizure Warrant- 18
DSID 1705546495, EMAIL ACCOUNT   14:19:16         U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED], AND APPLE ID         Filed:           2703 (c)(1)(A) Document:
[REDACTED], WHICH IS STORED AT   02/23/2018       1
PREMISES CONTROLLED BY APPLE
INC. CASE CLOSED on 08/15/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2705(b) filed by USA. (Attachments:
                                 # 1 Affidavit, # 2 Search and Seizure
                                 Warrant)




                                       34
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 35 of 156


1:18-sc-00478-BAH *SEALED*        Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       02/27/2018     Search/Seizure Warrant- 18
[REDACTED] AND                    09:45:56       U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED] THAT ARE STORED AT     Filed:         2703 (c)(1)(A) Document:
PREMISES CONTROLLED BY GOOGLE     02/27/2018     1
CASE CLOSED on 08/03/2018

                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Exhibit Search and Seizure Warrant)

1:18-sc-00572-BAH *SEALED*        Entered:       Category: misc Event: Application for
ONE BLACK APPLE IPHONE 8 SEIZED   03/06/2018     Search/Seizure Warrant- 18
FROM THE PERSON OF [REDACTED],    11:49:36       U.S.C. 2703 (a), 2703(b)(1) (A), and
WHICH IS CURRENTLY IN THE         Filed:         2703 (c)(1)(A) Document:
POSSESSION OF THE FBI CASE        03/06/2018     1
CLOSED on 03/23/2018

                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Exhibit Warrant w Attachments)
1:18-sc-00609-BAH *SEALED*        Entered:         Category:
INFORMATION ASSOCIATED WITH       03/09/2018       misc
FIVE CELLULAR
TELEPHONE NUMBERS THAT IS                        Event:
STORED AT
PREMISES CONTROLLED BY AT&T       11:36:56      Application

CASE CLOSED on 08/15/2018         Filed:        for
                                  03/09/2018    Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)
                                                Document:
                                                1




                                       35
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 36 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Exhibit REDACTED - Indictment, # 3 Exhibit
                                 Superseding Indictment (S-3), # 4 Exhibit Superseding
                                 Indictment, # 5 Exhibit Search and Seizure Warrant with
                                 attachments)
1:18-sc-00624-BAH *SEALED*       Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/12/2018      Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT    14:24:23        U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:          2703 (c)(1)(A) Document:
[REDACTED] CASE CLOSED on        03/12/2018      1
07/19/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Exhibit Search & Seizure Warrant)

1:18-sc-00628-BAH *SEALED*       Entered:        Category:
INFORMATION ASSOCIATED WITH      03/13/2018      misc

[REDACTED] WHICH IS                              Event:
STORED AT PREMISES CONTROLLED 10:32:47           Application
BY
[REDACTED]                    Filed:              for
CASE CLOSED on 08/15/2018     03/12/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit)

1:18-sc-00629-BAH *SEALED*       Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/13/2018      Search/Seizure Warrant- 18
[REDACTED], WHICH IS STORED AT   10:41:23        U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:          2703 (c)(1)(A) Document:
[REDACTED] CASE CLOSED on        03/12/2018      1
08/15/2018


                                       36
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 37 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit)

1:18-sc-00654-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATE WITH       03/14/2018     Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT     13:49:05       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED]                       03/14/2018     1
CASE CLOSED on 08/15/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-00656-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      03/14/2018       misc
[REDACTED]
THAT ARE STORED AT PREMISES                     Event:
CONTROLLED BY
[REDACTED]                       13:56:20       Application
CASE CLOSED on 08/15/2018        Filed:         for
                                 03/14/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1) (A), and 2703 (c)(1)(A)
                                                Document:
                                                1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-00657-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/14/2018       Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT     14:03:08         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       03/14/2018       1
CASE CLOSED on 07/02/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)


                                       37
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 38 of 156


1:18-sc-00659-BAH *SEALED*      Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH     03/14/2018      Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT   14:08:15        U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY          Filed:          2703 (c)(1)(A) Document:
[REDACTED]                      03/14/2018      1
CASE CLOSED on 08/15/2018
                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED

                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search & Seizure Warrant)
1:18-sc-00660-BAH *SEALED*      Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH     03/14/2018      Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT   14:14:01        U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY          Filed:          2703 (c)(1)(A) Document:
[REDACTED]                      03/14/2018      1
CASE CLOSED on 07/02/2018
                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search & Seizure Warrant)
1:18-sc-00661-BAH *SEALED*      Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH     03/14/2018       Search/Seizure Warrant- 18
[REDACTED]                      14:19:42         U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 04/11/2018       Filed:           2703 (c)(1)(A) Document:
                                03/14/2018       1
                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search & Seizure Warrant)
1:18-sc-00662-BAH *SEALED*      Entered:         Category:
INFORMATION ASSOCIATED WITH     03/14/2018       misc
VARIOUS APPLE
ACCOUNTS                                        Event:
CASE CLOSED on 08/15/2018       14:24:38        Application
                                Filed:          for
                                03/14/2018      Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703




                                      38
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 39 of 156


                                                     (c)(1)(A)
                                                     Document:
                                                     1
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-00683-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         03/15/2018       Search/Seizure Warrant- 18
[REDACTED], [REDACTED],             13:14:46         U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED], AND [REDACTED]          Filed:           2703 (c)(1)(A) Document:
STORED AT [REDACTED]                03/15/2018       1
CASE CLOSED on 08/15/2018
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seaizure Warrant)
1:18-sc-00684-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         03/15/2018       Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT       13:19:02         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:           2703 (c)(1)(A) Document:
[REDACTED]                          03/15/2018       1
CASE CLOSED on 08/15/2018
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-00685-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         03/15/2018       - isc Event: Application for
[REDACTED] THAT ARE STORED AT       13:29:07         Search/Seizure Warrant- 18
PREMISES CONTROLLED BY              Filed:           U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED]                          03/15/2018       2703 (c)(1)(A) Document:
CASE CLOSED on 08/15/2018                            1
                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search & Seizure Warrant)
1:18-sc-00696-BAH *SEALED*    Entered:         Category: misc Event: Application for
[REDACTED] ACCOUNT [REDACTED] 03/16/2018       Search/Seizure Warrant- 18
THAT IS STORED AT PREMISES    13:40:17         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]      Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/15/2018     03/16/2018       1



                                          39
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 40 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure warrant)
1:18-sc-00697-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      03/16/2018       misc

[REDACTED] THAT IS STORED AT                    Event:

PREMISES CONTROLLED BY APPLE     13:48:14       Application

CASE CLOSED on 08/15/2018        Filed:           for
                                 03/16/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-00698-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/16/2018       Search/Seizure Warrant- 18
THE [REDACTED] THAT IS STORED    14:11:28         U.S.C. 2703 (a), 2703(b)(1) (A), and
AT PREMISES CONTROLLED BY        Filed:           2703 (c)(1)(A) Document:
YAHOO                            03/16/2018       1
CASE CLOSED on 08/15/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-00731-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/19/2018       Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT    13:06:59         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       03/19/2018       1
CASE CLOSED on 08/15/2018




                                       40
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 41 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-00732-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      03/19/2018       misc Event: Application for
[REDACTED] THAT ARE STORED AT    13:13:29         Search/Seizure Warrant- 18
PREMISES CONTROLLED BY           Filed:           U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED]                       03/19/2018       2703 (c)(1)(A) Document:
CASE CLOSED on 08/15/2018                         1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-00760-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/20/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    10:06:37         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       03/20/2018       1
CASE CLOSED on 08/15/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-00778-BAH *SEALED*       Entered:         Category:
INFORMATION STORED AT            03/22/2018       misc
PREMISES CONTROLLED
BY [REDACTED]                                     Event:
CASE CLOSED on 08/08/2018        10:35:46         Application
                                 Filed:           for
                                 03/22/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)



                                       41
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 42 of 156


1:18-sc-00779-BAH *SEALED*          Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         03/22/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT       10:31:44       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:         2703 (c)(1)(A) Document:
[REDACTED]                          03/22/2018     1
CASE CLOSED on 08/15/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-00796-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         03/22/2018       Search/Seizure Warrant- 18
VARIOUS GOOGLE ACCOUNTS             17:16:06         U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 08/15/2018           Filed:           2703 (c)(1)(A) Document:
                                    03/22/2018       1
                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search and Seizure Warrant)
1:18-sc-00797-BAH *SEALED*    Entered:         Category: misc Event: Application for
ACCOUNT [REDACTED] THAT IS    03/23/2018       Search/Seizure Warrant- 18
STORED AT PREMISES CONTROLLED 14:48:52         U.S.C. 2703 (a), 2703(b)(1) (A), and
BY GODADDY.COM, LLC           Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/15/2018     03/22/2018       1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Exhibit to Affidavit)
1:18-sc-00798-BAH *SEALED*          Entered:         Category:
GOOGLE ACCOUNT [REDACTED]           03/23/2018       misc
THAT
IS STORED AT PREMISES                              Event:
CONTROLLED BY GOOGLE
LLC                                 15:00:25       Application
CASE CLOSED on 07/19/2018           Filed:         for
                                    03/22/2018     Search/Seizure
                                                   Warrant- 18
                                                   U.S.C. 2703
                                                   (a), 2703(b)(1)
                                                   (A), and 2703
                                                   (c)(1)(A)


                                          42
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 43 of 156


                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Exhibit to Affidavit)
1:18-sc-00800-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/23/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    13:09:35         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       03/23/2018       1
CASE CLOSED on 08/15/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-00806-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/23/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    17:13:27         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        03/23/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-00807-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/23/2018       Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT    17:25:43         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       03/23/2018       1
CASE CLOSED on 08/08/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-00808-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      03/23/2018       misc Event: Application for
[REDACTED] STORED AT PREMISES    17:32:00         Search/Seizure Warrant- 18
CONTROLLED BY [REDACTED]         Filed:           U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 08/08/2018        03/23/2018       2703 (c)(1)(A) Document:
                                                  1



                                       43
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 44 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-00811-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/26/2018       Search/Seizure Warrant- 18
[REDACTED], WHICH IS STORED AT   14:18:57         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       03/26/2018       1
CASE CLOSED on 08/15/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, and
                                 # 2 Search and Seizure Warrant)
1:18-sc-00849-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      03/27/2018       misc

[REDACTED] THAT IS                               Event:
STORED AT PREMISES CONTROLLED 14:28:50           Application
BY [REDACTED]
CASE CLOSED on 08/15/2018     Filed:              for
                              03/27/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATE OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search and Seizure Warrant)
1:18-sc-00850-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/27/2018       Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT    14:34:47         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       03/27/2018       1
CASE CLOSED on 08/15/2018




                                       44
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 45 of 156


                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search and Seizure Warrant)
1:18-sc-00851-BAH *SEALED*      Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH     03/27/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES   14:41:34         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]        Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018       03/27/2018       1

                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search and Seizure Warrant)
1:18-sc-00862-BAH *SEALED*      Entered:         Category:
INFORMATION ASSOCIATED WITH     03/28/2018       misc
[REDACTED]
THAT ARE STORED AT PREMISES                     Event:
CONTROLLED BY
[REDACTED]                      9:36:40     Application
CASE CLOSED on 08/15/2018       Filed:      for
                                03/28/2018  Search/Seizure
                                            Warrant- 18
                                            U.S.C. 2703
                                            (a), 2703(b)(1)
                                            (A), and 2703
                                            (c)(1)(A)
                                            Document:
                                            1
                                APPLICATION for Search/Seizure Warrant by USA

                                pursuant to 18 U.S.C 2703(a) & (b) filed by USA.
                                (Attachments: # 1 Affidavit, # 2 Search and Seizure
                                Warrant)
1:18-sc-00877-BAH *SEALED*      Entered:         Category: misc Event: Application for
[REDACTED] THAT ARE STORED AT   03/28/2018       Search/Seizure Warrant- 18
PREMISES CONTROLLED BY          09:45:56         U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED]                      Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 07/02/2018       03/28/2018       1
                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by USA.
                                (Attachments: # 1 Affidavit, # 2 Search and Seizure
                                Warrant)


                                      45
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 46 of 156


1:18-sc-00881-BAH *SEALED*       Entered:        Category:
INFORMATION ASSOCIATED WITH      03/28/2018      misc
[REDACTED]
ASSOCIATED WITH THE                               Event:
[REDACTED]                       14:19:51         Application
CASE CLOSED on 08/15/2018        Filed:           for
                                 03/28/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachment: # 1 Affidavit, # 2
                                 Search and Seizure Warrant)
1:18-sc-00882-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/28/2018       Order pursuant to 18 U.S.C.
[REDACTED] THAT IS STORED AT     14:26:43         2705(b)
PREMISES CONTROLLED BY APPLE,    Filed:           Document:
INC. CASE CLOSED on 04/20/2018   03/28/2018       1

                                 APPLICATION for Order pursuant to 18 USC 2705(b)
                                 filed by UNITED STATES OF AMERICA.
                                 (Attachment: # 1 Affidavit, # 2 Search and Seizure
                                 Warrant)

1:18-sc-00897-BAH *SEALED*       Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/29/2018      Search/Seizure Warrant- 18
TWITTER ACCOUNTS [REDACTED]      12:40:53        U.S.C. 2703 (a), 2703(b)(1) (A), and
AND [REDACTED] CASE CLOSED on    Filed:          2703 (c)(1)(A) Document:
08/15/2018                       03/29/2018      1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search and Seizure Warrant)
1:18-sc-00908-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/29/2018       Search/Seizure Warrant- 18
TWITTER ACCOUNTS [REDACTED]      12:50:19         U.S.C. 2703 (a), 2703(b)(1) (A), and
AND [REDACTED]                   Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/15/2018        03/29/2018       1


                                       46
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 47 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search and Seizure Warrant)
1:18-sc-00913-BAH *SEALED*       Entered:         Category: misc Event:
INFORMATION ASSOCIATED WITH      03/29/2018
TWITTER ACCOUNT [REDACTED]
THAT IS STORED AT

PREMISES CONTROLLED BY           12:55:10       Application for Search/Seizure Warrant-
TWITTER, INC.                    Filed:         18
CASE CLOSED on 08/15/2018        03/29/2018     U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                2703 (c)(1)(A) Document:
                                                1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search and Seizure Warrant)
1:18-sc-00915-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      03/29/2018       Search/Seizure Warrant- 18
TWITTER ACCOUNT [REDACTED]       13:00:44         U.S.C. 2703 (a), 2703(b)(1) (A), and
THAT IS STORED AT PREMISES       Filed:           2703 (c)(1)(A) Document:
CONTROLLED BY TWITTER, INC.      03/29/2018       1
CASE CLOSED on 08/15/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search and Seizure Warrant)
1:18-sc-00916-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      03/29/2018       misc
TWITTER
ACCOUNT [REDACTED] THAT IS                      Event:
STORED AT
PREMISES CONTROLLED BY           13:06:16       Application
TWITTER, INC.
CASE CLOSED on 08/15/2018        Filed:         for
                                 03/29/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)


                                       47
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 48 of 156


                                                       Document:
                                                       1
                                      APPLICATION for Search/Seizure Warrant by USA
                                      pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                      STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                      Search and Seizure Warrant)
1:18-sc-00919-BAH *SEALED*            Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH           03/29/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES         15:15:16         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]              Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 11/06/2018             03/29/2018       1

                               APPLICATION for Search/Seizure Warrant by USA
                               pursuant to 18 U.S.C 2703(a) & (b) filed by USA.
                               (Attachments: # 1 Affidavit, # 2 Search and Seizure
                               Warrant)
1:18-sc-00924-BAH *SEALED*     Entered:         Category: misc Event: Application for
IN THE MATTER OF THE SEARCH OF 03/30/2018       Search/Seizure Warrant- 18
INFORMATION THAT IS STORED AT 09:39:12          U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY         Filed:           2703 (c)(1)(A) Document:
[REDACTED]                     03/30/2018       1
CASE CLOSED on 08/15/2018
                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by USA.
                              (Attachments: # 1 Affidavit, # 2 Search and Seizure
                              Warrant)
1:18-sc-00961-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   04/02/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES 13:21:43         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED] CASE Filed:           2703 (c)(1)(A) Document:
CLOSED on 08/08/2018          04/02/2018       1

                                      APPLICATION for Search Warrant by USA pursuant to
                                      18 U.S.C 2703(a) & (b) filed by UNITED STATES OF
                                      AMERICA. (Attachments: # 1 Affidavit, # 2 Search &
                                      Seizure Warrant) Modified on 4/2/2018 .

1:18-sc-00962-BAH *SEALED*            Entered:       Category:
INFORMATION ASSOCIATED WITH           04/02/2018     misc
[REDACTED]
THAT ARE STORED AT                                   Event:
PREMISES CONTROLLED BY                13:28:08       Application
[REDACTED]


                                            48
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 49 of 156


CASE CLOSED on 08/08/2018            Filed:           for
                                     04/02/2018       Search/Seizure
                                                      Warrant- 18
                                                      U.S.C. 2703
                                                      (a), 2703(b)(1)
                                                      (A), and 2703
                                                      (c)(1)(A)
                                                      Document:
                                                      1
                                     APPLICATION for Search Warrant by USA pursuant to
                                     18 U.S.C 2703(a) & (b) filed by UNITED STATES OF
                                     AMERICA. (Attachments: # 1 Affidavit, # 2 Search &
                                     Seizure Warrant)
1:18-sc-00980-BAH *SEALED*           Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH          04/03/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT        15:04:40         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY               Filed:           2703 (c)(1)(A) Document:
[REDACTED]                           04/03/2018       1
CASE CLOSED on 11/06/2018
                              APPLICATION for Search Warrant by USA pursuant to
                              18 U.S.C 2703(a) & (b) filed by UNITED STATES OF
                              AMERICA. (Attachments: # 1 Affidavit, # 2 Search &
                              Seizure Warrant)
1:18-sc-00981-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   04/03/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES 15:11:24         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED] CASE Filed:           2703 (c)(1)(A) Document:
CLOSED on 11/06/2018          04/03/2018       1

                                     APPLICATION for Search Warrant by USA pursuant to
                                     18 U.S.C 2703(a) & (b) filed by UNITED STATES OF
                                     AMERICA. (Attachments: # 1 Affidavit, # 2 Search &
                                     Seizure Warrant)
1:18-sc-00982-BAH *SEALED*           Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH          04/03/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES        15:21:16         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]             Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 11/06/2018            04/03/2018       1

                                     APPLICATION for Search Warrant by USA pursuant to
                                     18 U.S.C 2703(a) & (b) filed by UNITED STATES OF
                                     AMERICA. (Attachments: # 1 Affidavit, # 2 Aearch &
                                     Seizure Warrant)


                                           49
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 50 of 156


1:18-sc-01020-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/04/2018     Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT    14:17:21       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED]                       04/04/2018     1
CASE CLOSED on 11/06/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01021-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/04/2018       misc

[REDACTED], THAT IS STORED AT                   Event:

PREMISES CONTROLLED BY           14:09:13       Application
[REDACTED]
CASE CLOSED on 11/06/2018        Filed:           for
                                 04/04/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01038-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/06/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    14:31:39         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 11/06/2018        04/06/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01039-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/06/2018       misc
[REDACTED]


                                       50
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 51 of 156


STORED AT PREMISES CONTROLLED                      Event:
BY [REDACTED]
CASE CLOSED on 08/15/2018     14:27:04               Application
                              Filed:                 for
                              04/06/2018             Search/Seizure
                                                     Warrant- 18
                                                     U.S.C. 2703
                                                     (a), 2703(b)(1)
                                                     (A), and 2703
                                                     (c)(1)(A)
                                                     Document:
                                                     1
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01040-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         04/06/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES       14:22:02         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]            Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/15/2018           04/06/2018       1

                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search & Seizure Warrant)
1:18-sc-01041-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   04/06/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES 14:16:50         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED] CASE Filed:           2703 (c)(1)(A) Document:
CLOSED on 08/15/2018          04/06/2018       1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01042-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFROMATION ASSOCIATED WITH         04/06/2018       Search/Seizure Warrant- 18
THE [REDACTED] THAT IS STORED       14:10:57         U.S.C. 2703 (a), 2703(b)(1) (A), and
AT PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                          04/06/2018       1
CASE CLOSED on 08/15/2018



                                          51
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 52 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 2017-10-30 - 013 - REDACTED -
                                 Indictment, # 3 2018-02-22 - 009 - Superseding
                                 Indictment, # 4 2018-02-23 - 202 - Superseding Indictment
                                 (S-3), # 5 Text of Proposed Order)

1:18-sc-01043-BAH *SEALED*       Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/06/2018      Search/Seizure Warrant- 18
THE DSID [REDACTED] THAT IS      14:38:26        U.S.C. 2703 (a), 2703(b)(1) (A), and
STORED AT PREMISES CONTROLLED    Filed:          2703 (c)(1)(A) Document:
BY APPLE INC.                    04/06/2018      1
CASE CLOSED on 08/15/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 2017-10-30 - 013 - REDACTED - Indictment, # 3 2018-02-
                                 22 - 009 - Superseding Indictment, # 4 2018-02-23 - 202 -
                                 Superseding Indictment (S-3), # 5 Search & Seizure
                                 Warrant)

1:18-sc-01064-BAH *SEALED*       Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/09/2018      Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    12:57:31        U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:          2703 (c)(1)(A) Document:
CASE CLOSED on 08/15/2018        04/09/2018      1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Text of
                                 Proposed Order, # 2 Search & Seizure Warrant)

1:18-sc-01065-BAH *SEALED*       Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/10/2018      Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    10:20:23        U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:          2703 (c)(1)(A) Document:
[REDACTED]                       04/09/2018      1
CASE CLOSED on 08/15/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)


                                       52
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 53 of 156


1:18-sc-01091-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/10/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    12:51:39       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED]                       04/10/2018     1
CASE CLOSED on 08/15/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01092-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/10/2018       Search/Seizure Warrant- 18
[REDACTED] WHICH IS STORED AT    12:45:07         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/10/2018       1
CASE CLOSED on 08/15/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01124-BAH *SEALED*       Entered:         Category: misc Event:
INFORMATION ASSOCIATED WITH      04/11/2018
[REDACTED] ACCOUNTS, THAT IS
STORED AT PREMISES
CONTROLLED BY [REDACTED]         11:42:56       Application for Search/Seizure Warrant-
CASE CLOSED on 08/16/2018        Filed:         18
                                 04/11/2018     U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                2703 (c)(1)(A) Document:
                                                1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01146-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/12/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    13:06:08         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/12/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)


                                       53
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 54 of 156


1:18-sc-01147-BAH *SEALED*       Entered:       Category:
INFORMATION ASSOCIATED WITH      04/12/2018     misc
[REDACTED]
THAT ARE STORED AT PREMISES                     Event:
CONTROLLED BY
[REDACTED]                       13:11:32         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 04/12/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01148-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/12/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    13:17:44         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/12/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01205-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/16/2018       misc

[REDACTED] THAT IS STORED AT                    Event:

PREMISES CONTROLLED BY           15:41:13       Application
[REDACTED]
CASE CLOSED on 08/16/2018        Filed:         for
                                 04/16/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)
                                                Document:
                                                1



                                       54
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 55 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01206-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/16/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    15:36:01         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/16/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AAMERICA. (Attachments: # 1 Affidavit, #
                                 2 Search & Seizure Warrant)

1:18-sc-01210-BAH *SEALED*    Entered:          Category:
INFORMATION ASSOCIATED WITH   04/16/2018        misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
CASE CLOSED on 08/16/2018     15:30:01            Application
                              Filed:              for
                              04/16/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01211-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/16/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    15:25:20         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        04/16/2018       1




                                       55
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 56 of 156


                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01212-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         04/16/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                      Event:
BY [REDACTED]
CASE CLOSED on 08/08/2018     15:20:27         Application
                              Filed:           for
                              04/16/2018       Search/Seizure
                                               Warrant- 18
                                               U.S.C. 2703
                                               (a), 2703(b)(1)
                                               (A), and 2703
                                               (c)(1)(A)
                                               Document:
                                               1
                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search & Seizure Warrant)
1:18-sc-01213-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   04/16/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES 15:14:16         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED] CASE Filed:           2703 (c)(1)(A) Document:
CLOSED on 08/16/2018          04/16/2018       1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01214-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         04/16/2018       Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT        15:09:49         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:           2703 (c)(1)(A) Document:
[REDACTED]                          04/16/2018       1
CASE CLOSED on 08/16/2018
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)


                                          56
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 57 of 156


1:18-sc-01227-BAH *SEALED*          Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         04/17/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT       13:25:01       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:         2703 (c)(1)(A) Document:
[REDACTED]                          04/17/2018     1
CASE CLOSED on 08/16/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search and Seizure Warrant)
1:18-sc-01228-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION WITH [REDACTED]         04/17/2018       Search/Seizure Warrant- 18
AND [REDACTED], THAT IS STORED      13:15:41         U.S.C. 2703 (a), 2703(b)(1) (A), and
AT [REDACTED]                       Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 11/29/2018           04/17/2018       1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search and Seizure Warrant)
1:18-sc-01229-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         04/21/2018       misc Event: Application for
APPLE ACCOUNTS ASSOCIATED           13:57:32         Search/Seizure Warrant- 18
WITH THE DSIDS [REDACTED]AND        Filed:           U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED] THAT ARE STORED AT       04/17/2018       2703 (c)(1)(A) Document:
PREMISES CONTROLLED BY APPLE                         1
INC.
CASE CLOSED on 08/16/2018

                               APPLICATION for Search/Seizure Warrant by USA
                               pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                               STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                               Search & Seizure Warrant)
1:18-sc-01230-BAH *SEALED*     Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH    04/21/2018       Search/Seizure Warrant- 18
THE YAHOO ACCOUNT [REDACTED] 13:43:19           U.S.C. 2703 (a), 2703(b)(1) (A), and
THAT IS STORED AT PREMISES     Filed:           2703 (c)(1)(A) Document:
CONTROLLED BY YAHOO HOLDINGS 04/17/2018         1
INC. CASE CLOSED on 07/17/2018




                                          57
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 58 of 156


                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search & Seizure Warrant)
1:18-sc-01231-BAH *SEALED*      Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH     04/21/2018       Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT   14:58:56         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY          Filed:           2703 (c)(1)(A) Document:
[REDACTED]                      04/17/2018       1
CASE CLOSED on 08/16/2018
                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search & Seizure Warrant)
1:18-sc-01232-BAH *SEALED*      Entered:         Category:
INFORMATION ASSOCIATED WITH     04/21/2018       misc
[REDACTED],
THAT IS STORED AT                              Event:
PREMISES CONTROLLED BY          14:13:19       Application
[REDACTED]
CASE CLOSED on 08/16/2018       Filed:           for
                                04/17/2018       Search/Seizure
                                                 Warrant- 18
                                                 U.S.C. 2703
                                                 (a), 2703(b)(1)
                                                 (A), and 2703
                                                 (c)(1)(A)
                                                 Document:
                                                 1
                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search & Seizure Warrant)
1:18-sc-01233-BAH *SEALED*      Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH     04/21/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES   14:51:43         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]        Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018       04/17/2018       1

                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Serach & Seizure Warrant)


                                      58
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 59 of 156


1:18-sc-01234-BAH *SEALED*    Entered:          Category:
INFORMATION ASSOCIATED WITH   04/21/2018        misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
CASE CLOSED on 08/16/2018     14:42:07            Application
                              Filed:              for
                              04/17/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01244-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/18/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    14:42:14         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        04/18/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01245-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/18/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    14:55:26         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        04/18/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search and Seizure Warrant)




                                       59
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 60 of 156


1:18-sc-01247-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/18/2018     Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    15:16:02       U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:         2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        04/18/2018     1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01248-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/18/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    15:32:17         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        04/18/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01249-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/18/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED 15:48:27          Event: Application for Search/Seizure
BY [REDACTED]                 Filed:            Warrant- 18
CASE CLOSED on 08/08/2018     04/18/2018        U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                2703 (c)(1)(A) Document:
                                                1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01250-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/18/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    16:14:47         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        04/18/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)



                                       60
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 61 of 156


1:18-sc-01251-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/18/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    16:21:49       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED]                       04/18/2018     1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01256-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/19/2018       misc
[REDACTED]
THAT ARE STORED AT PREMISES                     Event:

CONTROLLED BY [REDACTED]         11:47:31         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 04/19/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01257-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/19/2018       Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT    11:53:45         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/19/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Sarch & Seizure Warrant)
1:18-sc-01266-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/19/2018       misc
[REDACTED]



                                       61
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 62 of 156


THAT ARE STORED AT PREMISES                     Event:

CONTROLLED BY [REDACTED]         14:38:00         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 04/19/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01267-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/19/2018       Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT     14:45:55         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/19/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01268-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/19/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    14:52:48         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/19/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01285-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/20/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    13:52:31         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        04/20/2018       1




                                       62
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 63 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01286-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/20/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    13:43:02         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        04/20/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01287-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/20/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
CASE CLOSED on 08/08/2018     14:02:17            Application
                              Filed:              for Search/Seizure Warrant- 18
                              04/20/2018          U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01288-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/20/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    13:30:05         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/20/2018       1
CASE CLOSED on 08/23/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01289-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/20/2018       misc
[REDACTED]
THAT IS STORED AT                               Event:



                                       63
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 64 of 156


PREMISES CONTROLLED BY           13:36:43       Application
[REDACTED]
CASE CLOSED on 08/16/2018        Filed:         for
                                 04/20/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1) (A), and 2703 (c)(1)(A)
                                                Document:
                                                1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warant)
1:18-sc-01308-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/23/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    14:28:18         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/23/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01309-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/23/2018       misc

[REDACTED], THAT IS STORED AT                   Event:
PREMISES
CONTROLLED BY [REDACTED]         14:22:50         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 04/23/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)


                                       64
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 65 of 156


1:18-sc-01310-BAH *SEALED*       Entered:       Category: misc Event: Application for
[REDACTED] CONTROLLED AND/OR     04/23/2018     Search/Seizure Warrant- 18
OPERATED BY [REDACTED]           14:16:09       U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 08/16/2018        Filed:         2703 (c)(1)(A) Document:
                                 04/23/2018     1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01311-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/23/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                      Event:
CONTROLLED BY
[REDACTED]                       14:09:20         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 04/23/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01312-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/23/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    14:04:26         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/23/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01313-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/23/2018       misc
[REDACTED]
THAT ARE STORED AT PREMISES                     Event:
CONTROLLED BY


                                       65
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 66 of 156


[REDACTED]                       13:57:55         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 04/23/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01314-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/23/2018       Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT     13:48:55         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/23/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01323-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/24/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    13:35:24         U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED]                       Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        04/24/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01324-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/24/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    13:49:11         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        04/24/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)


                                       66
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 67 of 156


1:18-sc-01325-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/24/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    13:48:18       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED] CASE CLOSED on        04/24/2018     1
08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01326-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/24/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED 13:43:19          Event: Application for Search/Seizure
BY [REDACTED]                 Filed:            Warrant- 18
CASE CLOSED on 08/08/2018     04/24/2018        U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                2703 (c)(1)(A) Document:
                                                1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01327-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/24/2018       Search/Seizure Warrant- 18
TWO DROPBOX ACCOUNTS             13:58:40         U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 05/24/2018        Filed:           2703 (c)(1)(A) Document:
                                 04/24/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01328-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/24/2018       misc
TWO APPLE
ACCOUNTS                                        Event:
CASE CLOSED on 05/24/2018        13:38:25       Application
                                 Filed:         for
                                 04/24/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                2703 (c)(1)(A) Document:
                                                1



                                       67
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 68 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01341-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/25/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    13:31:43         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/25/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01342-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/25/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]         13:38:29         Application
CASE CLOSED on 07/02/2018        Filed:           for
                                 04/25/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01343-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/25/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    13:26:15         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/25/2018       1
CASE CLOSED on 07/02/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01351-BAH *SEALED*       Entered:         Category:


                                       68
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 69 of 156


INFORMATION ASSOCIATED WITH      04/25/2018     misc
[REDACTED]
THAT IS STORED AT                               Event:
PREMISES CONTROLLED BY           14:10:42       Application
[REDACTED]
CASE CLOSED on 08/16/2018        Filed:         for
                                 04/25/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)
                                                Document:
                                                1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01352-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/25/2018       Search/Seizure Warrant- 18
THE EMAIL ACCOUNT [REDACTED]     15:30:20         U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 08/16/2018        Filed:           2703 (c)(1)(A) Document:
                                 04/25/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01353-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/25/2018       misc

[REDACTED]                                      Event:
THAT ARE STORED AT               15:44:06       Application
PREMISES CONTROLLED BY           Filed:         for
[REDACTED]
CASE CLOSED on 07/02/2018        04/25/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)
                                                Document:
                                                1


                                       69
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 70 of 156


                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01354-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         04/25/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES       15:49:30         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]            Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018           04/25/2018       1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01356-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         04/26/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                      Event:
BY
[REDACTED]                    10:10:40          Application
CASE CLOSED on 08/08/2018     Filed:            for
                              04/26/2018        Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)
                                                Document:
                                                1
                               APPLICATION for Search/Seizure Warrant by USA
                               pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                               STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                               Search & Seizure Warrant)
1:18-sc-01357-BAH *SEALED*     Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH    04/26/2018       Search/Seizure Warrant- 18
[REDACTED], STORED AT PREMISES 10:22:21         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]       Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018      04/26/2018       1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)


                                          70
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 71 of 156


1:18-sc-01358-BAH *SEALED*          Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         04/26/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT       10:03:51       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:         2703 (c)(1)(A) Document:
[REDACTED]                          04/26/2018     1
CASE CLOSED on 08/16/2018
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01359-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         04/26/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT       10:09:00         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:           2703 (c)(1)(A) Document:
[REDACTED]                          04/26/2018       1
CASE CLOSED on 08/16/2018
                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search & Seizure Warrant)
1:18-sc-01385-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITN   04/27/2018       Search/Seizure Warrant- 18
AN APPLE ACCOUNT ASSOCIATED   14:16:48         U.S.C. 2703 (a), 2703(b)(1) (A), and
WITH THE [REDACTED] THAT IS   Filed:           2703 (c)(1)(A) Document:
STORED AT PREMISES CONTROLLED 04/27/2018       1
BY APPLE INC.
CASE CLOSED on 08/16/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01402-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         04/30/2018       misc

[REDACTED] AND [REDACTED] AND                      Event:

[REDACTED], STORED AT               10:55:11       Application
[REDACTED]
CASE CLOSED on 08/16/2018           Filed:         for Search/Seizure Warrant- 18
                                    04/27/2018     U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                   2703 (c)(1)(A) Document:
                                                   1


                                          71
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 72 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01403-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/30/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    11:03:55         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/27/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01404-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      04/30/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
CASE CLOSED on 08/16/2018     11:13:52          Application
                              Filed:            for
                              04/27/2018        Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1) (A), and 2703 (c)(1)(A)
                                                Document:
                                                1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01420-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      04/30/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    14:35:34         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       04/30/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01421-BAH *SEALED*       Entered:         Category:


                                       72
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 73 of 156


INFORMATION ASSOCIATED WITH         04/30/2018     misc

[REDACTED], THAT IS STORED AT                      Event:

PREMISES CONTROLLED BY              14:40:39       Application
[REDACTED]
CASE CLOSED on 08/16/2018           Filed:      for
                                    04/30/2018  Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)
                                                Document:
                                                1
                               APPLICATION for Search/Seizure Warrant by USA
                               pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                               STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                               Search & Seizure Warrant)
1:18-sc-01422-BAH *SEALED*     Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH    04/30/2018       Search/Seizure Warrant- 18
THE [REDACTED] REGISTERED WITH 14:47:43         U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED], STORED AT          Filed:           2703 (c)(1)(A) Document:
[REDACTED]                     04/30/2018       1
CASE CLOSED on 08/16/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01423-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         04/30/2018       misc

[REDACTED], [REDACTED],                            Event:
AND [REDACTED] AND [REDACTED], 14:54:49            Application

STORED AT [REDACTED]                Filed:         for
CASE CLOSED on 08/16/2018           04/30/2018     Search/Seizure
                                                   Warrant- 18
                                                   U.S.C. 2703
                                                   (a), 2703(b)(1)
                                                   (A), and 2703
                                                   (c)(1)(A)


                                          73
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 74 of 156


                                               Document:
                                               1
                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search & Seizure Warrant)
1:18-sc-01424-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   04/30/2018       Search/Seizure Warrant- 18
[REDACTED] AND [REDACTED],    15:00:37         U.S.C. 2703 (a), 2703(b)(1) (A), and
STORED AT PREMISES CONTROLLED Filed:           2703 (c)(1)(A) Document:
BY [REDACTED]                 04/30/2018       1
CASE CLOSED on 08/16/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01425-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         04/30/2018       misc
[REDACTED]
THAT ARE STORED AT PREMISES                        Event:
CONTROLLED BY
[REDACTED]                          15:05:43         Application
CASE CLOSED on 08/16/2018           Filed:           for
                                    04/30/2018       Search/Seizure
                                                     Warrant- 18
                                                     U.S.C. 2703
                                                     (a), 2703(b)(1)
                                                     (A), and 2703
                                                     (c)(1)(A)
                                                     Document:
                                                     1
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01436-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION THAT IS STORED AT       05/01/2018       Search/Seizure Warrant- 18
PREMISES CONTROLLED BY              13:42:28         U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED]                          Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018           05/01/2018       1




                                          74
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 75 of 156


                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01437-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         05/01/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT       13:37:26         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:           2703 (c)(1)(A) Document:
[REDACTED]                          05/01/2018       1
CASE CLOSED on 08/16/2018
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01452-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         05/02/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES       13:58:38         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]            Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018           05/02/2018       1

                               APPLICATION for Search/Seizure Warrant by USA
                               pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                               STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                               Search & Seizure Warrant)
1:18-sc-01453-BAH *SEALED*     Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH    05/02/2018       Search/Seizure Warrant- 18
THE [REDACTED] REGISTERED WITH 14:03:17         U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED], THAT IS STORED AT  Filed:           2703 (c)(1)(A) Document:
[REDACTED]                     05/02/2018       1
CASE CLOSED on 08/16/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01454-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         05/02/2018       misc

[REDACTED], THAT IS STORED AT       14:16:25       Event: Application for Search/Seizure
PREMISES CONTROLLED BY              Filed:         Warrant- 18
[REDACTED]                          05/02/2018     U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 08/16/2018                          2703 (c)(1)(A) Document:
                                                   1


                                          75
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 76 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01455-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/02/2018       Search/Seizure Warrant- 18
[REDACTED] AND [REDACTED],       14:28:44         U.S.C. 2703 (a), 2703(b)(1) (A), and
THAT IS STORED AT [REDACTED]     Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        05/02/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01489-BAH *SEALED*       Entered:         Category:
[REDACTED]                       05/03/2018       misc
AND                                               Event:
[REDACTED] CONTROLLED AND        18:11:11         Application
OPERATED BY
[REDACTED]                       Filed:           for
CASE CLOSED on 08/16/2018        05/03/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01490-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/03/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    17:15:09         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/03/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 SEARCH AND SEIZURE WARRANT)

1:18-sc-01491-BAH *SEALED*       Entered:       Category:
INFORMATION ASSOCIATED WITH      05/03/2018     misc
[REDACTED]


                                       76
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 77 of 156


THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]         17:34:48         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 05/03/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703 (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 SEARCH AND SEIZURE WARRANT)

1:18-sc-01492-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WTIH      05/03/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    17:21:29       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED]                       05/03/2018     1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 SEARCH AND SEIZURE WARRANT)

1:18-sc-01493-BAH *SEALED*       Entered:      Category:
INFORMATION ASSOCIATED WITH      05/03/2018    misc
[REDACTED]
THAT IS STORED AT PREMISES                     Event:
COONTROLLED BY [REDACTED]        17:28:42      Application

CASE CLOSED on 08/16/2018        Filed:        for
                                 05/03/2018    Search/Seizure
                                               Warrant- 18
                                               U.S.C. 2703
                                               (a), 2703(b)(1)
                                               (A), and 2703
                                               (c)(1)(A)
                                               Document:
                                               1




                                      77
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 78 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 SEARCH AND SEIZURE WARRANT)

1:18-sc-01494-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/03/2018     Search/Seizure Warrant- 18
THE ACCOUNT [REDACTED] THAT IS   18:00:47       U.S.C. 2703 (a), 2703(b)(1) (A), and
STORED AT PREMISES CONTROLLED    Filed:         2703 (c)(1)(A) Document:
BY [REDACTED]                    05/03/2018     1
CASE CLOSED on 07/02/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01495-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/03/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY
[REDACTED]                    17:55:28            Application
CASE CLOSED on 08/16/2018     Filed:              for
                              05/03/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01496-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/03/2018       Search/Seizure Warrant- 18
[REDACTED], [REDACTED], AND      17:51:15         U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED], THAT IS STORED AT    Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/03/2018       1
CASE CLOSED on 08/16/2018




                                       78
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 79 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01497-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/03/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY
[REDACTED]                    18:21:50            Application
CASE CLOSED on 08/08/2018     Filed:              for
                              05/03/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01498-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/03/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    18:44:31         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        05/03/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01499-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/03/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY
[REDACTED]                    18:16:00          Application
CASE CLOSED on 08/08/2018     Filed:            for
                              05/03/2018        Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703


                                       79
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 80 of 156


                                                     (a), 2703(b)(1)
                                                     (A), and 2703
                                                     (c)(1)(A)
                                                     Document:
                                                     1
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01500-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         05/03/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES       18:27:44         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]            Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018           05/03/2018       1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01501-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         05/03/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES       18:35:36         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]            Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018           05/03/2018       1

                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search & Seizure Warrant)
1:18-sc-01502-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   05/03/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES 18:39:55         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED] CASE Filed:           2703 (c)(1)(A) Document:
CLOSED on 08/08/2018          05/03/2018       1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)




                                          80
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 81 of 156


1:18-sc-01518-BAH *SEALED*       Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/04/2018      Search/Seizure Warrant- 18
THE GOOGLE ACCOUNT               14:15:56        U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED]                       Filed:          2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        05/04/2018      1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01538-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/07/2018       misc
THE
[REDACTED] THAT IS                               Event:
STORED AT PREMISES CONTROLLED 10:14:58           Application
BY [REDACTED]
CASE CLOSED on 08/16/2018     Filed:              for Search/Seizure Warrant- 18
                              05/04/2018          U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit)

1:18-sc-01551-BAH *SEALED*       Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/07/2018      Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    12:16:28        U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:          2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        05/07/2018      1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01552-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/07/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                    Event:
BY [REDACTED]
FOR INVESTIGATION OF VIOLATION 12:07:49          Application
OF 18 U.S.C.
1543                           Filed:            for
CASE CLOSED on 08/08/2018      05/07/2018        Search/Seizure
                                                 Warrant- 18


                                       81
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 82 of 156


                                                U.S.C. 2703
                                                (a), 2703(b)(1) (A), and 2703 (c)(1)(A)
                                                Document:
                                                1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01564-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/08/2018       Search/Seizure Warrant- 18
[REDACTED] REGISTERED WITH       10:38:04         U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED], THAT IS STORED AT    Filed:           2703 (c)(1)(A) Document:
PREMISES CONTROLLED BY           05/07/2018       1
[REDACTED]
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01565-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/08/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]         10:47:54         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 05/07/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)




                                       82
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 83 of 156


1:18-sc-01566-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/08/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    10:58:04       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED]                       05/07/2018     1
CASE CLOSED on 08/16/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01567-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/08/2018       misc
THE [REDACTED]
REGISTERED WITH                                 Event:
[REDACTED] THAT IS STORED AT     11:07:25       Application

PREMISES CONTROLLED BY           Filed:         for
[REDACTED]
CASE CLOSED on 08/16/2018        05/07/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01568-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/08/2018       Search/Seizure Warrant- 18
[REDACTED] AND [REDACTED],       11:15:48         U.S.C. 2703 (a), 2703(b)(1) (A), and
THAT IS STORED AT PREMISES       Filed:           2703 (c)(1)(A) Document:
CONTROLLED BY [REDACTED]         05/07/2018       1
CASE CLOSED on 08/16/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01569-BAH *SEALED*       Entered:         Category:


                                          83
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 84 of 156


INFORMATION ASSOCIATED WITH     05/08/2018     misc
[REDACTED]
THAT IS STORED AT PREMISES                       Event:
CONTROLLED BY [REDACTED]        11:23:13         Application
CASE CLOSED on 08/16/2018       Filed:           for
                                05/07/2018       Search/Seizure
                                                 Warrant- 18
                                                 U.S.C. 2703
                                                 (a), 2703(b)(1)
                                                 (A), and 2703
                                                 (c)(1)(A)
                                                 Document:
                                                 1
                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search & Seizure Warrant)
1:18-sc-01570-BAH *SEALED*      Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH     05/08/2018       Search/Seizure Warrant- 18
[REDACTED] AND [REDACTED],      11:39:15         U.S.C. 2703 (a), 2703(b)(1) (A), and
THAT IS STORED AT PREMISES      Filed:           2703 (c)(1)(A) Document:
CONTROLLED BY [REDACTED]        05/07/2018       1
CASE CLOSED on 08/16/2018

                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search & Seizure Warrant)
1:18-sc-01579-BAH *SEALED*      Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH     05/08/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES   09:49:16         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]        Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018       05/07/2018       1

                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search & Seizure Warrant)




                                      84
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 85 of 156


1:18-sc-01580-BAH *SEALED*          Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         05/08/2018     Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES       09:55:53       U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]            Filed:         2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018           05/07/2018     1

                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search & Seizure Warrant)
1:18-sc-01581-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   05/08/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES 10:04:20         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED] CASE Filed:           2703 (c)(1)(A) Document:
CLOSED on 08/16/2018          05/07/2018       1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search && Seizure Warrant)
1:18-sc-01582-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         05/08/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED 10:10:39             Event: Application for Search/Seizure
BY [REDACTED]                 Filed:               Warrant- 18
CASE CLOSED on 08/08/2018     05/07/2018           U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                   2703 (c)(1)(A) Document:
                                                   1
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01597-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         05/08/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES       11:17:20         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]            Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018           05/08/2018       1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01598-BAH *SEALED*          Entered:         Category:


                                          85
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 86 of 156


INFORMATION ASSOCIATED WITH         05/08/2018    misc
THE [REDACTED]
REGISTERED WITH                                   Event:
[REDACTED], THAT IS STORED          11:22:15      Application
AT PREMISES CONOTROLLED BY          Filed:        for
[REDACTED]
CASE CLOSED on 08/16/2018           05/08/2018 Search/Seizure
                                               Warrant- 18
                                               U.S.C. 2703 (a), 2703(b)(1) (A), and
                                               2703 (c)(1)(A) Document:
                                               1
                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search & Seizure Warrant)
1:18-sc-01604-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   05/09/2018       Search/Seizure Warrant- 18
USERNAME [REDACTED] THAT IS   08:56:56         U.S.C. 2703 (a), 2703(b)(1) (A), and
STORED AT PREMISES CONTROLLED Filed:           2703 (c)(1)(A) Document:
BY TWITTER, INC.              05/08/2018       1
CASE CLOSED on 07/02/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01605-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         05/09/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]            11:24:37      Application
CASE CLOSED on 08/16/2018           Filed:        for
                                    05/09/2018    Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1




                                         86
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 87 of 156


                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search & Seizure Warrant)
1:18-sc-01631-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   05/10/2018       Search/Seizure Warrant- 18
AN APPLE ACCOUNT ASSOCIATED   09:56:32         U.S.C. 2703 (a), 2703(b)(1) (A), and
WITH THE [REDACTED] THAT IS   Filed:           2703 (c)(1)(A) Document:
STORED AT PREMISES CONTROLLED 05/09/2018       1
BY APPLE INC.
CASE CLOSED on 08/16/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01632-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         05/10/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                      Event:
BY
[REDACTED]                    9:42:34          Application
CASE CLOSED on 08/16/2018     Filed:           for
                              05/09/2018       Search/Seizure
                                               Warrant- 18
                                               U.S.C. 2703
                                               (a), 2703(b)(1)
                                               (A), and 2703
                                               (c)(1)(A)
                                               Document:
                                               1
                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search & Seizure Warrant)
1:18-sc-01633-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   05/10/2018       Search/Seizure Warrant- 18
THE APPLE [REDACTED] THAT IS  09:34:46         U.S.C. 2703 (a), 2703(b)(1) (A), and
STORED AT PREMISES CONTROLLED Filed:           2703 (c)(1)(A) Document:
BY APPLE INC.                 05/09/2018       1
CASE CLOSED on 08/16/2018




                                         87
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 88 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01643-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/12/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]         17:24:03         Application
CASE CLOSED on 07/02/2018        Filed:           for
                                 05/10/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01644-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/12/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    17:31:10         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/10/2018       1
CASE CLOSED on 07/02/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01645-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/12/2018       misc
THE
[REDACTED] REGISTERED WITH                      Event:
[REDACTED], STORED AT            16:37:30       Application
[REDACTED]
CASE CLOSED on 07/02/2018        Filed:         for
                                 05/10/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)


                                       88
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 89 of 156


                                                     (A), and 2703
                                                     (c)(1)(A)
                                                     Document:
                                                     1
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01646-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         05/12/2018       Search/Seizure Warrant- 18
[REDACTED] AND [REDACTED],          17:10:10         U.S.C. 2703 (a), 2703(b)(1) (A), and
THAT IS STORED AT [REDACTED]        Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 07/02/2018           05/10/2018       1

                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search & Seizure Warrant)
1:18-sc-01647-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   05/12/2018       Search/Seizure Warrant- 18
THE GOOGLE ACCOUNT            16:47:32         U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED] THAT IS STORED AT  Filed:           2703 (c)(1)(A) Document:
PREMISES CONTROLLED BY GOOGLE 05/10/2018       1
INC.
CASE CLOSED on 07/19/2018
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01652-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         05/11/2018       Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT       12:28:28         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:           2703 (c)(1)(A) Document:
[REDACTED]                          05/11/2018       1
CASE CLOSED on 08/16/2018
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)




                                          89
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 90 of 156


1:18-sc-01653-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/11/2018     Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT    12:33:04       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED]                       05/11/2018     1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search 7 Seizure Warrant)
1:18-sc-01654-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/11/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY
[REDACTED]                    12:45:10            Application
CASE CLOSED on 08/08/2018     Filed:              for Search/Seizure Warrant- 18
                              05/11/2018          U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01655-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/11/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    12:53:52         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        05/11/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01669-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/14/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                      Event:
CONTROLLED BY [REDACTED]         14:13:26       Application
CASE CLOSED on 08/16/2018        Filed:         for
                                 05/14/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703


                                       90
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 91 of 156


                                                   (a), 2703(b)(1) (A), and 2703 (c)(1)(A)
                                                   Document:
                                                   1

                               APPLICATION for Search/Seizure Warrant by USA
                               pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                               STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                               Search 7 Seizure Warant)
1:18-sc-01670-BAH *SEALED*     Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH    05/14/2018       Search/Seizure Warrant- 18
THE [REDACTED] REGISTERED WITH 14:17:54         U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED], STORED AT          Filed:           2703 (c)(1)(A) Document:
[REDACTED]                     05/14/2018       1
CASE CLOSED on 08/16/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01672-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         05/14/2018       misc
[REDACTED]
AND [REDACTED], THAT IS                            Event:
STORED AT PREMISES CONTROLLED 14:22:35             Application
BY
[REDACTED]                    Filed:                 for
CASE CLOSED on 08/16/2018     05/14/2018             Search/Seizure
                                                     Warrant- 18
                                                     U.S.C. 2703
                                                     (a), 2703(b)(1)
                                                     (A), and 2703
                                                     (c)(1)(A)
                                                     Document:
                                                     1
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)




                                          91
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 92 of 156


1:18-sc-01673-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/14/2018     Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    14:26:36       U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:         2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        05/14/2018     1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01679-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/15/2018       misc
[REDACTED]
AND [REDACTED], THAT                           Event:
IS STORED AT PREMISES            13:11:52      Application
CONTROLLED BY
[REDACTED]                       Filed:           for
CASE CLOSED on 08/16/2018        05/15/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 SEARCH AND SEIZURE WARRANT)

1:18-sc-01680-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/15/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    13:20:13       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED]                       05/15/2018     1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01681-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/15/2018       misc
[REDACTED]


                                      92
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 93 of 156


THAT IS STORED AT PREMISES                      Event:
CONTROLLED BY
[REDACTED]                       13:27:04         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 05/15/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01682-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/15/2018       Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT     13:33:07         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/15/2018       1
CASE CLOSED on 08/16/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01683-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/15/2018       Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT     13:37:08         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/15/2018       1
CASE CLOSED on 08/16/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)




                                       93
        Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 94 of 156


1:18-sc-01684-BAH *SEALED*          Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         05/15/2018     Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT       14:00:36       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:         2703 (c)(1)(A) Document:
[REDACTED]                          05/15/2018     1
CASE CLOSED on 08/16/2018
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01707-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         05/16/2018       Search/Seizure Warrant- 18
[REDACTED], WHICH IS STORED AT      11:22:40         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:           2703 (c)(1)(A) Document:
[REDACTED]                          05/16/2018       1
CASE CLOSED on 08/16/2018
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01708-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         05/16/2018       misc Event: Application for
[REDACTED], WHICH IS STORED AT      11:27:11         Search/Seizure Warrant- 18
PREMISES CONTROLLED BY              Filed:           U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED]                          05/16/2018       2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018                            1
                               APPLICATION for Search/Seizure Warrant by USA
                               pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                               STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                               Search & Seizure Warrant)
1:18-sc-01714-BAH *SEALED*     Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH    05/16/2018       Search/Seizure Warrant- 18
THE ACCOUNT [REDACTED] THAT IS 13:50:28         U.S.C. 2703 (a), 2703(b)(1) (A), and
STORED AT PREMISES CONTROLLED Filed:            2703 (c)(1)(A) Document:
BY [REDACTED]                  05/16/2018       1
CASE CLOSED on 08/16/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01715-BAH *SEALED*          Entered:         Category:



                                          94
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 95 of 156


INFORMATION ASSOCIATED WITH      05/16/2018     misc

[REDACTED], WHICH IS STORED AT                  Event:
PREMISES
CONTROLLED BY [REDACTED]         13:56:40         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 05/16/2018       Search/Seizure Warrant- 18
                                                  U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01716-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/16/2018       Search/Seizure Warrant- 18
[REDACTED] REGISTERED WITH       14:01:13         U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED], THAT IS STORED AT    Filed:           2703 (c)(1)(A) Document:
PREMISES CONTROLLED BY           05/16/2018       1
[REDACTED]
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01717-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/16/2018       misc

[REDACTED], THAT IS STORED AT                   Event:
PREMISES
CONTROLLED BY [REDACTED]         14:05:52         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 05/16/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703 (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)


                                       95
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 96 of 156


1:18-sc-01718-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/16/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    14:10:32       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED]                       05/16/2018     1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01719-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/16/2018       misc

[REDACTED], THAT IS STORED AT                   Event:

PREMISES CONTROLLED BY           14:17:26       Application
[REDACTED]
CASE CLOSED on 08/16/2018        Filed:           for
                                 05/16/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01721-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/16/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    14:21:46         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/16/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01722-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/16/2018       misc



                                       96
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 97 of 156


[REDACTED], THAT IS STORED                      Event:
AT PREMISES CONTROLLED BY        14:26:36       Application
[REDACTED]
CASE CLOSED on 08/16/2018        Filed:           for
                                 05/16/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01723-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/16/2018       Search/Seizure Warrant- 18
[REDACTED] AND [REDACTED],       14:31:31         U.S.C. 2703 (a), 2703(b)(1) (A), and
THAT IS STORED AT PREMISES       Filed:           2703 (c)(1)(A) Document:
CONTROLLED BY [REDACTED]         05/16/2018       1
CASE CLOSED on 08/16/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01741-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/17/2018       misc
[REDACTED]
AND [REDACTED], THAT                            Event:
IS STORED AT [REDACTED]          14:33:45       Application
CASE CLOSED on 08/16/2018        Filed:         for
                                 05/17/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)
                                                Document:
                                                1




                                       97
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 98 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01742-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/17/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    14:37:58         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/17/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01743-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/17/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    14:42:15         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/17/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01744-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/17/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    14:46:28         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/17/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search 7 Seizure Warrant)
1:18-sc-01745-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/17/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    14:50:35         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/17/2018       1
CASE CLOSED on 08/16/2018




                                       98
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 99 of 156


                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search & Seizure Warrant)
1:18-sc-01756-BAH *SEALED*      Entered:         Category: misc Event:
INFORMATION ASSOCIATED WITH     05/18/2018

[REDACTED] FOR [REDACTED],      10:14:14       Application for Search/Seizure Warrant-
[REDACTED], AND [REDACTED]      Filed:         18
THAT ARE STORED AT PREMISES     05/17/2018     U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]                       2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018                      1

                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search & Seizure Warrant)
1:18-sc-01760-BAH *SEALED*      Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH     05/18/2018       Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT   13:15:38         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY          Filed:           2703 (c)(1)(A) Document:
[REDACTED]                      05/18/2018       1
CASE CLOSED on 08/16/2018
                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search & Seizure Warrant)
1:18-sc-01761-BAH *SEALED*      Entered:         Category:
INFORMATION ASSOCIATED WITH     05/18/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                       Event:
CONTROLLED BY [REDACTED]        13:19:40         Application
CASE CLOSED on 08/16/2018       Filed:           for
                                05/18/2018       Search/Seizure
                                                 Warrant- 18
                                                 U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                 2703 (c)(1)(A) Document:
                                                 1
                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                Search & Seizure Warrant)



                                      99
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 100 of 156


1:18-sc-01771-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION THAT IS STORED AT    05/21/2018     Search/Seizure Warrant- 18
PREMISES CONTROLLED BY           12:47:13       U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED] CASE CLOSED on        Filed:         2703 (c)(1)(A) Document:
08/16/2018                       05/21/2018     1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01772-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/21/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]         13:01:47         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 05/21/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01773-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/21/2018       Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT     13:06:38         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/21/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01774-BAH *SEALED*       Entered:         Category:
INFORMATION THAT IS STORED AT    05/21/2018       misc
PREMISES
CONTROLLED BY [REDACTED]                        Event:
CASE CLOSED on 08/16/2018        13:18:57       Application
                                 Filed:         for


                                      100
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 101 of 156


                                    05/21/2018Search/Seizure
                                              Warrant- 18
                                              U.S.C. 2703
                                              (a), 2703(b)(1)
                                              (A), and 2703
                                              (c)(1)(A)
                                              Document:
                                              1
                             APPLICATION for Search/Seizure Warrant by USA
                             pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                             STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                             Search & Seizure Warrant)
1:18-sc-01775-BAH *SEALED*   Entered:         Category: misc Event: Application for
[REDACTED] CONTROLLED AND/OR 05/21/2018       Search/Seizure Warrant- 18
OPERATED BY [REDACTED]       13:29:12         U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 08/16/2018    Filed:           2703 (c)(1)(A) Document:
                             05/21/2018       1
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01776-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         05/21/2018       misc
[REDACTED]
STORED AT PREMISES                                   Event:
CONTROLLED BY [REDACTED]            13:35:38         Application
CASE CLOSED on 08/16/2018           Filed:           for
                                    05/21/2018       Search/Seizure
                                                     Warrant- 18
                                                     U.S.C. 2703
                                                     (a), 2703(b)(1)
                                                     (A), and 2703
                                                     (c)(1)(A)
                                                     Document:
                                                     1
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)




                                         101
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 102 of 156


1:18-sc-01777-BAH *SEALED*        Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       05/21/2018     Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT     13:42:11       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY            Filed:         2703 (c)(1)(A) Document:
[REDACTED]                        05/21/2018     1
CASE CLOSED on 08/16/2018
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-01778-BAH *SEALED*        Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       05/21/2018       Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT     13:51:10         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY            Filed:           2703 (c)(1)(A) Document:
[REDACTED]                        05/21/2018       1
CASE CLOSED on 08/16/2018
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-01779-BAH *SEALED*        Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       05/21/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES     13:56:46         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]          Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018         05/21/2018       1

                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-01780-BAH *SEALED*        Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       05/21/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES     14:01:37         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]          Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018         05/21/2018       1

                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-01781-BAH *SEALED*        Entered:         Category:




                                       102
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 103 of 156


INFORMATION ASSOCIATED WITH      05/21/2018     misc Event: Application for
[REDACTED] STORED AT PREMISES    14:07:15       Search/Seizure Warrant- 18
CONTROLLED BY [REDACTED]         Filed:         U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 08/08/2018        05/21/2018     2703 (c)(1)(A) Document:
                                                1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01782-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/21/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    14:12:21         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        05/21/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01803-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/22/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]         10:20:15         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 05/22/2018       Search/Seizure Warrant- 18
                                                  U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01804-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/22/2018       Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT     10:14:14         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/22/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)


                                      103
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 104 of 156


1:18-sc-01805-BAH *SEALED*       Entered:       Category:
INFORMATION ASSOCIATED WITH      05/23/2018     misc
[REDACTED]
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]         13:31:06         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 05/22/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703 (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01813-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/23/2018       Search/Seizure Warrant- 18
[REDACTED] AND [REDACTED],       10:11:21         U.S.C. 2703 (a), 2703(b)(1) (A), and
THAT IS STORED AT PREMISES       Filed:           2703 (c)(1)(A) Document:
CONTROLLED BY [REDACTED]         05/23/2018       1
CASE CLOSED on 08/16/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01814-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/23/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                      Event:
CONTROLLED BY [REDACTED]         10:06:28       Application
CASE CLOSED on 08/16/2018        Filed:         for
                                 05/23/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)
                                                Document:
                                                1



                                      104
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 105 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01815-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/23/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    10:01:28         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/23/2018       1
CASE CLOSED on 05/23/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01816-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/23/2018       misc
[REDACTED]
AND [REDACTED], THAT IS                         Event:
STORED AT PREMISES CONTROLLED 9:57:06           Application
BY
[REDACTED]                    Filed:              for
CASE CLOSED on 08/16/2018     05/23/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01817-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITN      05/23/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    09:52:11         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/23/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)


                                      105
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 106 of 156


1:18-sc-01818-BAH *SEALED*       Entered:       Category:
INFORMATION ASSOCIATED WITH      05/23/2018     misc
[REDACTED]
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]         9:47:10          Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 05/23/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01830-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION THAT IS STORED AT    05/25/2018       Search/Seizure Warrant- 18
PREMISES CONTROLLED BY           15:37:44         U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED]                       Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        05/24/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01831-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/25/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                      Event:
CONTROLLED BY [REDACTED]         15:29:21       Application
CASE CLOSED on 08/16/2018        Filed:         for
                                 05/24/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)
                                                Document:
                                                1




                                      106
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 107 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01832-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/25/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    15:22:53         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/24/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01833-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      05/25/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY
[REDACTED]                    15:02:00            Application
CASE CLOSED on 08/08/2018     Filed:              for
                              05/24/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01834-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/25/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    15:16:07         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        05/24/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)


                                      107
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 108 of 156


1:18-sc-01858-BAH *SEALED*       Entered:       Category:
INFORMATION ASSOCIATED WITH      05/30/2018     misc
[REDACTED]
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]         10:47:42         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 05/25/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01859-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/30/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    10:56:19         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        05/25/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01866-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/30/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    10:12:32         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/25/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)




                                      108
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 109 of 156


1:18-sc-01867-BAH *SEALED*          Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         05/30/2018      Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT       10:20:11        U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:          2703 (c)(1)(A) Document:
[REDACTED]                          05/25/2018      1
CASE CLOSED on 08/16/2018
                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search & Seizure Warrant)
1:18-sc-01868-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   05/30/2018       Search/Seizure Warrant- 18
[REDACTED] ACCOUNT, THAT IS   10:39:12         U.S.C. 2703 (a), 2703(b)(1) (A), and
STORED AT PREMISES CONTROLLED Filed:           2703 (c)(1)(A) Document:
BY [REDACTED]                 05/25/2018       1
CASE CLOSED on 08/16/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1

                                    Affidavit, # 2 Search & Seizure Warrant)
1:18-sc-01888-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         05/30/2018       Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT        13:08:22         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:           2703 (c)(1)(A) Document:
[REDACTED]                          05/29/2018       1
CASE CLOSED on 08/16/2018
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-01890-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         05/30/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT       12:51:01         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:           2703 (c)(1)(A) Document:
[REDACTED]                          05/29/2018       1
CASE CLOSED on 08/16/2018
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit
                                    (Amended), # 2 Search & Seizure Warrant)



                                         109
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 110 of 156


1:18-sc-01891-BAH *SEALED*        Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       05/30/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT     13:22:14       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY            Filed:         2703 (c)(1)(A) Document:
[REDACTED]                        05/29/2018     1
CASE CLOSED on 08/16/2018
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-01892-BAH *SEALED*        Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       05/30/2018       Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT      12:59:59         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY            Filed:           2703 (c)(1)(A) Document:
[REDACTED]                        05/29/2018       1
CASE CLOSED on 08/16/2018
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-01904-BAH *SEALED*        Entered:         Category:
INFORMATION ASSOCIATED WITH       05/31/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES        09:29:53       Event: Application for Search/Seizure
CONTROLLED BY [REDACTED]          Filed:         Warrant- 18
CASE CLOSED on 08/16/2018         05/30/2018     U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                 2703 (c)(1)(A) Document:
                                                 1
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-01905-BAH *SEALED*        Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       05/31/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT     09:50:42         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY            Filed:           2703 (c)(1)(A) Document:
[REDACTED]                        05/30/2018       1
CASE CLOSED on 08/16/2018
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-01906-BAH *SEALED*        Entered:         Category:


                                       110
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 111 of 156


INFORMATION ASSOCIATED WITH      05/31/2018     misc
[REDACTED]
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]         9:39:57          Application
CASE CLOSED on 05/30/2018        Filed:           for Search/Seizure Warrant- 18
                                 05/30/2018       U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01908-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      05/31/2018       Search/Seizure Warrant- 18
[REDACTED] BEARING [REDACTED]    10:02:04         U.S.C. 2703 (a), 2703(b)(1) (A), and
AND [REDACTED] THAT IS STORED    Filed:           2703 (c)(1)(A) Document:
AT PREMISES CONTROLLED BY        05/30/2018       1
[REDACTED]
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Exhibit REDACTED - Indictment, # 3 Exhibit
                                 Superseding Indictment, # 4 Search & Seizure Warrant)

1:18-sc-01928-BAH *SEALED*       Entered:       Category:
INFORMATION ASSOCIATED WITH      06/04/2018     misc
THE [REDACTED]
BEARING [REDACTED] THAT IS                      Event:
STORED AT PREMISES CONTROLLED    16:06:02       Application
BY [REDACTED]
CASE CLOSED on 08/16/2018        Filed:           for Search/Seizure Warrant- 18
                                 05/31/2018       U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 REDACTED - Indictment, # 3 Superseding Indictment (S-
                                 3), # 4 Search & Seizure Warrant)




                                      111
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 112 of 156


1:18-sc-01929-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/04/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    15:26:04       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED]                       05/31/2018     1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01930-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/04/2018       misc
[REDACTED]
THAT ARE STORED AT PREMISES                     Event:
CONTROLLED BY
[REDACTED]                       12:28:13         Application
CASE CLOSED on 08/16/2018        Filed:           for Search/Seizure Warrant- 18
                                 05/31/2018       U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01931-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/04/2018       Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT    17:07:38         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/31/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01932-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/04/2018       misc
[REDACTED]
THAT ARE STORED AT PREMISES                     Event:
CONTROLLED BY
[REDACTED]                       16:59:02       Application
CASE CLOSED on 08/16/2018        Filed:         for
                                 05/31/2018     Search/Seizure



                                      112
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 113 of 156


                                                  Warrant- 18
                                                  U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01933-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/04/2018       Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT    16:23:52         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       05/31/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01937-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/05/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                      Event:
CONTROLLED BY [REDACTED]         17:34:31       Application
CASE CLOSED on 08/16/2018        Filed:         for
                                 05/31/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1) (A), and 2703 (c)(1)(A)
                                                Document:
                                                1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01951-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/05/2018       Search/Seizure Warrant- 18
[REDACTED] AND [REDACTED],       16:51:33         U.S.C. 2703 (a), 2703(b)(1) (A), and
THAT IS STORED AT PREMISES       Filed:           2703 (c)(1)(A) Document:
CONTROLLED BY [REDACTED]         06/01/2018       1
CASE CLOSED on 08/16/2018




                                      113
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 114 of 156


                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-01952-BAH *SEALED*        Entered:         Category:
INFORMATION ASSOCIATED WITH       06/05/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                         Event:
CONTROLLED BY [REDACTED]          17:42:41         Application
CASE CLOSED on 08/16/2018         Filed:           for
                                  06/01/2018       Search/Seizure
                                                   Warrant- 18
                                                   U.S.C. 2703
                                                   (a), 2703(b)(1)
                                                   (A), and 2703
                                                   (c)(1)(A)
                                                   Document:
                                                   1
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-01953-BAH *SEALED*        Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       06/05/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT     17:00:08         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY            Filed:           2703 (c)(1)(A) Document:
[REDACTED]                        06/01/2018       1
CASE CLOSED on 08/16/2018
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-01954-BAH *SEALED*        Entered:         Category:
INFORMATION ASSOCIATED WITH       06/05/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                       Event:
CONTROLLED BY [REDACTED] et al    17:25:05       Application

CASE CLOSED on 08/16/2018         Filed:         for
                                  06/01/2018     Search/Seizure
                                                 Warrant- 18
                                                 U.S.C. 2703
                                                 (a), 2703(b)(1)


                                       114
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 115 of 156


                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01955-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/05/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    17:59:49         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        06/01/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01956-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/05/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
CASE CLOSED on 08/08/2018     17:52:41            Application
                              Filed:              for
                              06/01/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01957-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/05/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    16:42:11         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        06/01/2018       1



                                      115
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 116 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01986-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/04/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]         13:39:01         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 06/04/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01987-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/04/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    13:44:25         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        06/04/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01988-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/06/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY
[REDACTED]                    17:50:20          Application
CASE CLOSED on 08/08/2018     Filed:            for
                              06/04/2018        Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)


                                      116
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 117 of 156


                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01989-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/06/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    17:18:25         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        06/04/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01990-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/06/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
CASE CLOSED on 08/08/2018     17:29:45            Application
                              Filed:              for
                              06/04/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01994-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/06/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    17:03:37         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        06/04/2018       1



                                      117
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 118 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01998-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/06/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY
[REDACTED]                    18:03:00            Application
CASE CLOSED on 08/16/2018     Filed:              for
                              06/04/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-01999-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/06/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    18:31:05         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       06/04/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02012-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/05/2018       Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT    12:14:33         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       06/05/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)


                                      118
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 119 of 156


1:18-sc-02013-BAH *SEALED*        Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       06/05/2018     Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT     12:10:01       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY            Filed:         2703 (c)(1)(A) Document:
[REDACTED]                        06/05/2018     1
CASE CLOSED on 08/16/2018
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-02014-BAH *SEALED*        Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       06/05/2018       Search/Seizure Warrant- 18
[REDACTED] THAT ARE STORED AT     12:05:23         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY            Filed:           2703 (c)(1)(A) Document:
[REDACTED]                        06/05/2018       1
CASE CLOSED on 08/16/2018
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-02015-BAH *SEALED*        Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       06/05/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT     12:18:49         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY            Filed:           2703 (c)(1)(A) Document:
[REDACTED]                        06/05/2018       1
CASE CLOSED on 08/16/2018
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-02046-BAH *SEALED*        Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       06/11/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES     15:33:14         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]          Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018         06/05/2018       1

                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-02048-BAH *SEALED*        Entered:         Category:




                                       119
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 120 of 156


INFORMATION ASSOCIATED WITH       06/11/2018     misc Event: Application for
[REDACTED] STORED AT PREMISES     13:52:46       Search/Seizure Warrant- 18
CONTROLLED BY [REDACTED]          Filed:         U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 08/16/2018         06/05/2018     2703 (c)(1)(A) Document:
                                                 1
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-02049-BAH *SEALED*        Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       06/11/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT     13:39:49         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY            Filed:           2703 (c)(1)(A) Document:
[REDACTED]                        06/05/2018       1
CASE CLOSED on 08/16/2018
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-02050-BAH *SEALED*        Entered:         Category: misc Event:
INFORMATION ASSOCIATED WITH       06/11/2018
[REDACTED], THAT IS STORED AT
PREMISES
CONTROLLED BY [REDACTED]          13:31:30       Application for Search/Seizure Warrant-
CASE CLOSED on 08/16/2018         Filed:         18
                                  06/05/2018     U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                 2703 (c)(1)(A) Document:
                                                 1
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-02051-BAH *SEALED*        Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       06/11/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT     13:18:41         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY            Filed:           2703 (c)(1)(A) Document:
[REDACTED]                        06/05/2018       1
CASE CLOSED on 08/16/2018
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-02063-BAH *SEALED*        Entered:         Category:


                                       120
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 121 of 156


INFORMATION ASSOCIATED WITH   06/11/2018        misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
CASE CLOSED on 08/16/2018     17:40:30            Application
                              Filed:              for
                              06/07/2018          Search/Seizure Warrant- 18
                                                  U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02064-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/11/2018       Search/Seizure Warrant- 18
[REDACTED] AND [REDACTED],       17:33:14         U.S.C. 2703 (a), 2703(b)(1) (A), and
THAT IS STORED AT PREMISES       Filed:           2703 (c)(1)(A) Document:
CONTROLLED BY [REDACTED]         06/07/2018       1
CASE CLOSED on 08/16/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02065-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/12/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]         14:51:26         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 06/07/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)




                                      121
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 122 of 156


1:18-sc-02066-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WTH       06/11/2018     Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT     15:43:37       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED]                       06/07/2018     1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02067-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/11/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                      Event:
CONTROLLED BY
[REDACTED]                       16:10:45         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 06/07/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703 (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02068-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/11/2018       Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT     17:15:12         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       06/07/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02069-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/11/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]


                                      122
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 123 of 156


CASE CLOSED on 08/16/2018         17:25:23         Application
                                  Filed:           for
                                  06/07/2018       Search/Seizure
                                                   Warrant- 18
                                                   U.S.C. 2703
                                                   (a), 2703(b)(1)
                                                   (A), and 2703
                                                   (c)(1)(A)
                                                   Document:
                                                   1
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-02070-BAH *SEALED*        Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       06/07/2018       Search/Seizure Warrant- 18
APPLE ACCOUNTS ASSOCIATED         14:50:30         U.S.C. 2703 (a), 2703(b)(1) (A), and
WITH FOUR DSIDs, THREE E-MAIL     Filed:           2703 (c)(1)(A) Document: 1
ACCOUNTS, AND TWO PHONE           06/07/2018
NUMBERS THAT IS STORED AT
PREMISES CONTROLLED BY APPLE
INC.
CASE CLOSED on 08/16/2018


                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant) (Additional attachment(s)
                                  added on 6/7/2018: # 3 Exhibits to the Affidavit) .

1:18-sc-02079-BAH *SEALED*        Entered:       Category:
INFORMATION THAT IS STORED AT     06/12/2018     misc
PREMISES
CONTROLLED BY [REDACTED]                         Event:
CASE CLOSED on 08/16/2018         15:02:34       Application
                                  Filed:         for
                                  06/08/2018     Search/Seizure
                                                 Warrant- 18
                                                 U.S.C. 2703
                                                 (a), 2703(b)(1)
                                                 (A), and 2703
                                                 (c)(1)(A)
                                                 Document:


                                       123
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 124 of 156


                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02081-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/12/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    14:13:20         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        06/08/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02082-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/12/2018       misc
[REDACTED]
THAT ARE STORED AT PREMISES                     Event:
CONTROLLED BY
[REDACTED]                       14:21:46         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 06/08/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02083-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/12/2018       Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT     14:31:57         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       06/08/2018       1
CASE CLOSED on 08/16/2018




                                      124
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 125 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02084-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/12/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY
[REDACTED]                    13:42:19            Application
CASE CLOSED on 08/16/2018     Filed:              for
                              06/08/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02085-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/11/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    17:57:30         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        06/08/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02099-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/11/2018       misc

[REDACTED]                                      Event:
THAT ARE STORED AT PREMISES      14:44:33       Application

CONTROLLED BY [REDACTED]         Filed:         for
CASE CLOSED on 08/16/2018        06/11/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703


                                      125
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 126 of 156


                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02100-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/11/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    14:49:01         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       06/11/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02101-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/11/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]         14:54:06         Application
CASE CLOSED on 08/16/2018        Filed:           for
                                 06/11/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02102-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/11/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    14:57:52         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        06/11/2018       1



                                      126
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 127 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seaizure Warrant)
1:18-sc-02103-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/11/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY
[REDACTED]                    15:02:24            Application
CASE CLOSED on 08/16/2018     Filed:              for
                              06/11/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02104-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/14/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    17:38:37         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        06/11/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02105-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/14/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    17:07:33         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018        06/12/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)


                                      127
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 128 of 156


1:18-sc-02106-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/15/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    10:44:01       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED]                       06/12/2018     1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02107-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/15/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    10:51:33         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       06/12/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02108-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/15/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    10:59:40         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       06/12/2018       1
CASE CLOSED on 08/16/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02113-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/14/2018       Search/Seizure Warrant- 18
THE GOOGLE ACCOUNT               17:59:33         U.S.C. 2703 (a), 2703(b)(1) (A), and
[REDACTED]                       Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 07/19/2018        06/12/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Exhibit Indictment Attachments, # 3 Search & Seizure
                                 Warrant)




                                      128
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 129 of 156


1:18-sc-02128-BAH *SEALED*          Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         06/13/2018     Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES       13:28:58       U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]            Filed:         2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018           06/13/2018     1

                               APPLICATION for Search/Seizure Warrant by USA
                               pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                               STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                               Search & Seizure Warrant)
1:18-sc-02129-BAH *SEALED*     Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH    06/13/2018       Search/Seizure Warrant- 18
[REDACTED], STORED AT PREMISES 13:41:13         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]       Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/16/2018      06/13/2018       1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-02130-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         06/13/2018       misc
[REDACTED]
THAT ARE STORED AT PREMISES         13:46:10       Event: Application for Search/Seizure
CONTROLLED BY [REDACTED]            Filed:         Warrant- 18
CASE CLOSED on 08/16/2018           06/13/2018     U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                   2703 (c)(1)(A) Document:
                                                   1
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-02131-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         06/13/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT       13:50:04         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:           2703 (c)(1)(A) Document:
[REDACTED]                          06/13/2018       1
CASE CLOSED on 08/17/2018
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-02145-BAH *SEALED*          Entered:         Category:


                                         129
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 130 of 156


INFORMATION ASSOCIATED WITH   06/15/2018        misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY
[REDACTED]                    10:35:11            Application
CASE CLOSED on 08/17/2018     Filed:              for Search/Seizure Warrant- 18
                              06/13/2018          U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02158-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/14/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    13:41:40         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/17/2018        06/14/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02159-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/14/2018       misc

[REDACTED] AND [REDACTED],                      Event:
THAT IS
STORED AT PREMISES CONTROLLED 13:45:53          Application
BY
[REDACTED]                    Filed:              for
CASE CLOSED on 08/17/2018     06/14/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)




                                      130
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 131 of 156


1:18-sc-02160-BAH *SEALED*          Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         06/14/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT       13:50:55       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY              Filed:         2703 (c)(1)(A) Document:
[REDACTED]                          06/14/2018     1
CASE CLOSED on 08/17/2018
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-02167-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         06/15/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]            10:04:15      Application
CASE CLOSED on 08/17/2018           Filed:        for
                                    06/15/2018    Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1) (A), and 2703 (c)(1)(A)
                                                  Document:
                                                  1

                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search & Seizure Warrant)
1:18-sc-02168-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   06/15/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES 10:07:19         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED] CASE Filed:           2703 (c)(1)(A) Document:
CLOSED on 08/17/2018          06/15/2018       1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Seach & Seizure Warrant)
1:18-sc-02189-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         06/15/2018       misc
[REDACTED],
THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]            14:33:09      Application
CASE CLOSED on 08/08/2018           Filed:        for


                                         131
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 132 of 156


                                 06/15/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02199-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/18/2018       Search/Seizure Warrant- 18
TWITTER ACCOUNT [REDACTED]       15:03:19         U.S.C. 2703 (a), 2703(b)(1) (A), and
THAT IS STORED AT PREMISES       Filed:           2703 (c)(1)(A) Document:
CONTROLLED BY TWITTER, INC.      06/18/2018       1
CASE CLOSED on 08/17/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02200-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/18/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
CASE CLOSED on 08/17/2018     15:07:17            Application
                              Filed:              for
                              06/18/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)



                                      132
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 133 of 156


1:18-sc-02201-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/18/2018     Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    15:11:24       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED]                       06/18/2018     1
CASE CLOSED on 08/17/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02202-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/18/2018       misc
[REDACTED]
AND [REDACTED], THAT IS                         Event:
STORED AT PREMISES CONTROLLED 15:16:19          Application
BY
[REDACTED]                    Filed:              for
CASE CLOSED on 08/17/2018     06/18/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02203-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/18/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    15:21:55         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       06/18/2018       1
CASE CLOSED on 08/17/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF A MERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02204-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/18/2018       misc
THREE APPLE IDS



                                      133
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 134 of 156


AND THREE DSIDS, THAT IS STORED                 Event:
AT PREMISES
CONTROLLED BY APPLE             15:27:32          Application
CASE CLOSED on 08/17/2018       Filed:            for
                                06/18/2018        Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02205-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/18/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    15:32:31         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/17/2018        06/18/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02206-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/18/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY
[REDACTED]                    15:38:00          Application
CASE CLOSED on 08/17/2018     Filed:            for
                              06/18/2018        Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)
                                                Document:
                                                1




                                      134
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 135 of 156


                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-02207-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         06/18/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES       15:42:18         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]            Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/17/2018           06/18/2018       1

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-02208-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         06/18/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                      Event:
BY
[REDACTED]                    15:46:35          Application
CASE CLOSED on 08/17/2018     Filed:            for
                              06/18/2018        Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)
                                                Document:
                                                1
                               APPLICATION for Search/Seizure Warrant by USA
                               pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                               STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                               Search & Seizure Warrant)
1:18-sc-02212-BAH *SEALED*     Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH 26 06/19/2018       Search/Seizure Warrant- 18
ACCOUNTS STORED AT PREMISES    12:17:46         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY OATH HOLDINGS, Filed:             2703 (c)(1)(A) Document:
INC.                           06/18/2018       1
CASE CLOSED on 08/17/2018
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)


                                         135
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 136 of 156


1:18-sc-02213-BAH *SEALED*    Entered:             Category:
INFORMATION ASSOCIATED WITH 8 06/19/2018           misc
ACCOUNTS
STORED AT PREMISES CONTROLLED                      Event:
BY OATH INC.
CASE CLOSED on 08/17/2018     12:23:20          Application
                              Filed:            for
                              06/18/2018        Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)
                                                Document:
                                                1
                               APPLICATION for Search/Seizure Warrant by USA
                               pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                               STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                               Search & Seizure Warrant)
1:18-sc-02238-BAH *SEALED*     Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH 19 06/20/2018       Search/Seizure Warrant- 18
SKYPE USERNAMES STORED AT      11:53:09         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY         Filed:           2703 (c)(1)(A) Document:
MICROSOFT CORPORATION          06/19/2018       1
CASE CLOSED on 08/17/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-02246-BAH *SEALED*          Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH         06/20/2018       Search/Seizure Warrant- 18
EMAIL ACCOUNT [REDACTED]            12:59:42         U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 07/12/2018           Filed:           2703 (c)(1)(A) Document:
                                    06/20/2018       1
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)




                                         136
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 137 of 156


1:18-sc-02256-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WTIH      06/20/2018     Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    14:37:28       U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:         2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        06/20/2018     1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02257-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/20/2018       Search/Seizure Warrant- 18
ONE ACCOUNT STORED AT            14:42:03         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY APPLE     Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/17/2018        06/20/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02258-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/20/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    14:46:25         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/08/2018        06/20/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02259-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/20/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
CASE CLOSED on 08/17/2018     14:52:57          Application
                              Filed:            for
                              06/20/2018        Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703



                                      137
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 138 of 156


                                               (c)(1)(A)
                                               Document:
                                               1
                              APPLICATION for Search/Seizure Warrant by USA
                              pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                              STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                              Search & Seizure Warrant)
1:18-sc-02260-BAH *SEALED*    Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH   06/20/2018       Search/Seizure Warrant- 18
FOUR INSTAGRAM ACCOUNTS       14:58:17         U.S.C. 2703 (a), 2703(b)(1) (A), and
STORED AT PREMISES CONTROLLED Filed:           2703 (c)(1)(A) Document:
BY INSTAGRAM                  06/20/2018       1
CASE CLOSED on 08/17/2018

                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)
1:18-sc-02261-BAH *SEALED*          Entered:         Category:
INFORMATION ASSOCIATED WITH         06/20/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                      Event:
BY [REDACTED]
CASE CLOSED on 08/08/2018     15:02:40               Application
                              Filed:                 for
                              06/20/2018             Search/Seizure
                                                     Warrant- 18
                                                     U.S.C. 2703
                                                     (a), 2703(b)(1)
                                                     (A), and 2703
                                                     (c)(1)(A)
                                                     Document:
                                                     1
                                    APPLICATION for Search/Seizure Warrant by USA
                                    pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                    STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                    Search & Seizure Warrant)




                                         138
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 139 of 156


1:18-sc-02298-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/25/2018     Search/Seizure Warrant- 18
TWO GOOGLE ACCOUNTS, THAT IS     16:53:19       U.S.C. 2703 (a), 2703(b)(1) (A), and
STORED AT PREMISES CONTROLLED    Filed:         2703 (c)(1)(A) Document:
BY GOOGLE                        06/25/2018     1
CASE CLOSED on 08/17/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02299-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/25/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
CASE CLOSED on 08/17/2018     17:05:51            Application
                              Filed:              for
                              06/25/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02300-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/25/2018       Search/Seizure Warrant- 18
[REDACTED], THAT IS STORED AT    16:59:08         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       06/25/2018       1
CASE CLOSED on 08/17/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02301-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/25/2018       misc
[REDACTED]


                                      139
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 140 of 156


THAT IS STORED AT PREMISES                        Event:
CONTROLLED BY [REDACTED]         17:10:37         Application
CASE CLOSED on 08/17/2018        Filed:           for
                                 06/25/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02336-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      06/29/2018       Search/Seizure Warrant- 18
[REDACTED] AND [REDACTED],       10:54:30         U.S.C. 2703 (a), 2703(b)(1) (A), and
THAT IS STORED AT PREMISES       Filed:           2703 (c)(1)(A) Document:
CONTROLLED BY [REDACTED]         06/29/2018       1
CASE CLOSED on 08/17/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02337-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      06/29/2018       misc
[REDACTED]
THAT IS STORED AT PREMISES                      Event:
CONTROLLED BY [REDACTED]         10:40:15       Application
CASE CLOSED on 08/17/2018        Filed:         for
                                 06/29/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703
                                                (c)(1)(A)
                                                Document:
                                                1




                                      140
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 141 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02362-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      07/03/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    13:25:12         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/17/2018        07/03/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02363-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      07/03/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
CASE CLOSED on 08/17/2018     13:31:51            Application
                              Filed:              for
                              07/03/2018          Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02364-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      07/03/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    13:37:12         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/17/2018        07/03/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)


                                      141
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 142 of 156


1:18-sc-02368-BAH *SEALED*       Entered:       Category:
INFORMATION ASSOCIATED WITH      07/03/2018     misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY
[REDACTED]                       14:20:37         Application
CASE CLOSED on 07/03/2018        Filed:           for
                                 07/03/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant, # 3 2705(b) Application, # 4
                                 2705 (b) Application Proposed Order)REJECTED - NOT
                                 SIGNED
1:18-sc-02380-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      07/09/2018     Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT     15:26:52       U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:         2703 (c)(1)(A) Document:
[REDACTED]                       07/06/2018     1
CASE CLOSED on 08/17/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02381-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      07/09/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
CASE CLOSED on 08/17/2018     15:32:24          Application
                              Filed:            for
                              07/06/2018        Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)
                                                (A), and 2703


                                      142
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 143 of 156


                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02401-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      07/12/2018       Search/Seizure Warrant- 18
[REDACTED]                       15:41:59         U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 08/17/2018        Filed:           2703 (c)(1)(A) Document:
                                 07/12/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02402-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      07/12/2018       Search/Seizure Warrant- 18
[REDACTED]                       15:53:21         U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 08/17/2018        Filed:           2703 (c)(1)(A) Document:
                                 07/12/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED

                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02403-BAH *SEALED*       Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      07/12/2018      Search/Seizure Warrant- 18
[REDACTED]                       15:48:33        U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 08/17/2018        Filed:          2703 (c)(1)(A) Document:
                                 07/12/2018      1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02524-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      07/27/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    14:34:51         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/17/2018        07/27/2018       1




                                      143
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 144 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02556-BAH *SEALED*       Entered:         Category: misc Event: Application for
VARIOUS DEVICES BELONGING TO     08/01/2018       Search/Seizure Warrant- 18
[REDACTED]                       11:17:54         U.S.C. 2703 (a), 2703(b)(1) (A), and
CASE CLOSED on 08/17/2018        Filed:           2703 (c)(1)(A) Document:
                                 08/01/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02559-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      08/03/2018       Search/Seizure Warrant- 18
[REDACTED] THAT IS STORED AT     10:15:26         U.S.C. 2703 (a), 2703(b)(1) (A), and
PREMISES CONTROLLED BY           Filed:           2703 (c)(1)(A) Document:
[REDACTED]                       08/01/2018       1
CASE CLOSED on 08/17/2018
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02560-BAH *SEALED*       Entered:         Category: misc Event:
INFORMATION ASSOCIATED WITH      08/03/2018
[REDACTED], THAT IS STORED AT
PREMISES
CONTROLLED BY [REDACTED]         10:20:48       Application for Search/Seizure Warrant-
CASE CLOSED on 08/17/2018        Filed:         18
                                 08/01/2018     U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                2703 (c)(1)(A) Document:
                                                1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02570-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      08/03/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    10:27:34         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/17/2018        08/02/2018       1




                                      144
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 145 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02581-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      08/03/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY
[REDACTED], [REDACTED], AND   13:38:20          Application
[REDACTED]
CASE CLOSED on 08/17/2018     Filed:              for
                              08/03/2018          Search/Seizure Warrant- 18
                                                  U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02582-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      08/03/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    13:40:59         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED],        Filed:           2703 (c)(1)(A) Document:
[REDACTED], AND [REDACTED]       08/03/2018       1
CASE CLOSED on 08/17/2018

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure warrant)
1:18-sc-02583-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      08/03/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY
[REDACTED], [REDACTED], AND   13:43:03          Application
[REDACTED]
CASE CLOSED on 08/17/2018     Filed:            for
                              08/03/2018        Search/Seizure
                                                Warrant- 18




                                      145
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 146 of 156


                                                  U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warant)
1:18-sc-02595-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      08/08/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    11:25:54         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 08/17/2018        08/08/2018       1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02596-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      08/08/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
                                 11:34:38         Application
                                 Filed:           for
                                 08/08/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703 (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02670-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      08/20/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    12:57:57         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
                                 08/20/2018       1




                                      146
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 147 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02671-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      08/20/2018       misc
ONE CELLULAR
TELEPHONE NUMBER STORED AT                      Event:
PREMISES
CONTROLLED BY AT&T               13:04:03         Application
                                 Filed:           for
                                 08/20/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure warrant)
1:18-sc-02727-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      08/28/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    15:23:34         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
                                 08/28/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2705(b) filed by UNITED STATES
                                 OF AMERICA. (Attachments: # 1 Affidavit, # 2 Search &
                                 Seizure Warrant)
1:18-sc-02728-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      08/28/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
                                 15:19:17       Application
                                 Filed:         for
                                 08/28/2018     Search/Seizure
                                                Warrant- 18
                                                U.S.C. 2703
                                                (a), 2703(b)(1)


                                      147
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 148 of 156


                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2705(b) filed by UNITED STATES
                                 OF AMERICA. (Attachments: # 1 Affidavit, # 2 Search &
                                 Seizure Warrant)
1:18-sc-02729-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      08/28/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    15:13:30         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
                                 08/28/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2705(b) filed by UNITED STATES
                                 OF AMERICA. (Attachments: # 1 Affidavit, # 2 Search &
                                 Seizure Warrant)
1:18-sc-02877-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      09/21/2018       misc
[REDACTED],
[REDACTED], AND [REDACTED]                      Event:
STORED AT
PREMISES CONTROLLED BY           9:43:18        Application
[REDACTED]
CASE CLOSED on 10/31/2018        Filed:           for
                                 09/21/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2705(b) filed by UNITED STATES
                                 OF AMERICA. (Attachments: # 1 Affidavit, # 2 Search &
                                 Seizure Warrant) (Attachment 1 replaced on 9/21/2018
                                 because it was modified) .




                                      148
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 149 of 156


1:18-sc-02881-BAH *SEALED*       Entered:       Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      09/24/2018     Search/Seizure Warrant- 18
ONE VIRTUAL PRIVATE SERVER       12:08:34       U.S.C. 2703 (a), 2703(b)(1) (A), and
                                 Filed:         2703 (c)(1)(A) Document:
                                 09/24/2018     1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02905-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      09/26/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    13:35:41         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
                                 09/26/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02906-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      09/26/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    13:56:32         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
                                 09/26/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02918-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      09/27/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    15:35:05         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
                                 09/27/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & seizure Warrant)
1:18-sc-02919-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      09/27/2018       misc Event: Application for
[REDACTED] STORED AT PREMISES    15:30:04         Search/Seizure Warrant- 18
CONTROLLED BY [REDACTED]         Filed:           U.S.C. 2703 (a), 2703(b)(1) (A), and
                                 09/27/2018       2703 (c)(1)(A) Document:
                                                  1



                                      149
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 150 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02920-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      09/27/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    15:23:50         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
                                 09/27/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02921-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      09/27/2018       misc
[REDACTED]
STORED AT PREMISES CONTROLLED                   Event:
BY [REDACTED]
                                 15:18:00         Application
                                 Filed:           for
                                 09/27/2018       Search/Seizure Warrant- 18
                                                  U.S.C. 2703 (a), 2703(b)(1) (A), and
                                                  2703 (c)(1)(A) Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02922-BAH *SEALED*       Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      09/27/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    15:12:13         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:           2703 (c)(1)(A) Document:
                                 09/27/2018       1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-02964-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED WITH      10/11/2018       misc
[REDACTED]
THAT ARE STORED AT PREMISES                     Event:

CONTROLLED BY [REDACTED]         13:31:30       Application


                                      150
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 151 of 156


CASE CLOSED on 10/31/2018         Filed:           for
                                  10/11/2018       Search/Seizure
                                                   Warrant- 18
                                                   U.S.C. 2703
                                                   (a), 2703(b)(1)
                                                   (A), and 2703 (c)(1)(A)
                                                   Document:
                                                   1
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-02965-BAH *SEALED*        Entered:         Category: misc Event: Application for
INFORMATION ASSOCIATED WITH       10/11/2018       Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES     13:26:52         U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]          Filed:           2703 (c)(1)(A) Document:
CASE CLOSED on 10/31/2018         10/11/2018       1

                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)
1:18-sc-02966-BAH *SEALED*        Entered:         Category:
INFORMATION ASSOCIATED WITH       10/11/2018       misc
ONE ACCOUNT
STORED AT PREMISES CONTROLLED                    Event:
BY LINKEDIN
CASE CLOSED on 11/06/2018     13:18:20             Application
                              Filed:               for
                              10/11/2018           Search/Seizure
                                                   Warrant- 18
                                                   U.S.C. 2703
                                                   (a), 2703(b)(1)
                                                   (A), and 2703
                                                   (c)(1)(A)
                                                   Document:
                                                   1
                                  APPLICATION for Search/Seizure Warrant by USA
                                  pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                  STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                  Search & Seizure Warrant)




                                       151
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 152 of 156


1:18-sc-02994-BAH *SEALED*       Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      10/05/2018      Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    12:32:16        U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:          2703 (c)(1)(A) Document:
                                 10/05/2018      1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED

                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-03022-BAH *SEALED*       Entered:        Category: misc Event: Application for
INFORMATION ASSOCIATED WITH      10/11/2018      Search/Seizure Warrant- 18
[REDACTED] STORED AT PREMISES    13:04:28        U.S.C. 2703 (a), 2703(b)(1) (A), and
CONTROLLED BY [REDACTED]         Filed:          2703 (c)(1)(A) Document:
CASE CLOSED on 11/06/2018        10/11/2018      1

                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                 STATES OF AMERICA. (Attachments: # 1 Affidavit, # 2
                                 Search & Seizure Warrant)
1:18-sc-03481-BAH *SEALED*       Entered:         Category:
INFORMATION ASSOCIATED AN        12/14/2018       misc
ICLOUD ACCOUNT
                                                  Event:
                                 13:17:37         Application
                                 Filed:           for
                                 12/14/2018       Search/Seizure
                                                  Warrant- 18
                                                  U.S.C. 2703
                                                  (a), 2703(b)(1)
                                                  (A), and 2703
                                                  (c)(1)(A)
                                                  Document:
                                                  1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C. 2703(a), 2703(b)(1)(A), and
                                 2703(c)(1)(A) filed by UNITED STATES OF
                                 AMERICA. (Attachments: # 1 Affidavit, # 2 Search &
                                 Seizure Warrant)




                                      152
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 153 of 156


1:18-sw-00055-BAH *SEALED* USA v.   Entered:        Category: misc-cr Event: Application and
PERSON OF [REDACTED]                03/07/2018      Affidavit for
                                    12:35:08        Search/Seizure Warrant under Rule 41 by
                                    Filed:          USA
                                    03/07/2018      Document:
                                                    1
                                    Application and Affidavit for Search/Seizure Warrant by
                                    USA as to PERSON OF [REDACTED].
                                    (Attachments: # 1 Affidavit, # 2 Exhibit Search & Seizure
                                    Warrant)

1:18-sw-00056-BAH *SEALED*          Entered:        Category: misc-cr Event: Application and
USA v. VARIOUS ELECTRONIC           03/07/2018      Affidavit for
DEVICES BELONGING TO                12:41:50        Search/Seizure Warrant under Rule 41 by
[REDACTED]                          Filed:          USA
                                    03/07/2018      Document:
                                                    1
                                    Application and Affidavit for Search/Seizure Warrant by
                                    USA as toVARIOUS ELECTRONIC DEVICES
                                    BELONGING TO [REDACTED]. (Attachments: # 1
                                    Affidavit, # 2 Exhibit SEARCH AND SEIZURE
                                    WARRANT)

1:18-sw-00065-BAH *SEALED*          Entered:        Category:
USA v. ASUS LAPTOP WITH SERIAL      03/08/2018      misc-cr
NUMBER
[REDACTED]                                           Event:
                                    13:11:42         Application
                                    Filed:           and Affidavit
                                    03/08/2018       for Search/Seizure Warrant under Rule
                                                     41 by USA
                                                     Document:
                                                     1
                                    Application and Affidavit for Search/Seizure Warrant by
                                    USA as to ASUS LAPTOP WITH SERIAL NUMBER
                                    [REDACTED]. (Attachments: # 1
                                    Affidavit, # 2 Exhibit SEARCH AND SEIZURE
                                    WARRANT)




                                         153
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 154 of 156


1:18-sw-00078-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. IPHONE DEVICES USED BY    03/23/2018      Affidavit for
[REDACTED]                       12:43:18        Search/Seizure Warrant under Rule 41 by
                                 Filed:          USA
                                 03/22/2018      Document:
                                                 1
                                 Application and Affidavit for Search/Seizure Warrant by
                                 USA as to IPHONE DEVICES USED BY [REDACTED].
                                 (Attachments: # 1 Affidavit) (Additional attachment(s)
                                 added on 3/23/2018: # 2 Exhibit) .

1:18-sw-00079-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. RESIDENCE OF [REDACTED]   03/23/2018      Affidavit for
[REDACTED]                       13:36:46        Search/Seizure Warrant under Rule 41 by
                                 Filed:          USA
                                 03/22/2018      Document:
                                                 1
                                 Application and Affidavit for Search/Seizure Warrant by
                                 USA as to RESIDENCE OF [REDACTED]
                                 [REDACTED]. (Attachments: # 1 Affidavit, # 2 Exhibit to
                                 Affidavit)
1:18-sw-00080-BAH *SEALED*       Entered:          Category:
USA v. PERSON OF [REDACTED]      03/23/2018        misc-cr
                                                   Event:
                                 14:39:34          Application
                                 Filed:            and Affidavit
                                 03/22/2018        for
                                                   Search/Seizure
                                                   Warrant under
                                                   Rule 41 by
                                                   USA
                                                   Document:
                                                   1
                                 Application and Affidavit for Search/Seizure Warrant by
                                 USA as to PERSON OF [REDACTED]. (Attachments: #
                                 1 Affidavit, # 2 Exhibit to Affidavit)

1:18-sw-00084-BAH *SEALED*       Entered:        Category: misc-cr Event: Application and
USA v. PERSON OF [REDACTED]      04/03/2018      Affidavit for
                                 14:43:03        Search/Seizure Warrant under Rule 41 by
                                 Filed:          USA
                                 04/03/2018      Document:
                                                 1


                                      154
       Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 155 of 156


                                  Application and Affidavit for Search Warrant by USA as
                                  to PERSON OF [REDACTED]. (Attachments: # 1
                                  Affidavit, # 2 Search & Seizure Warrant)

1:18-sw-00085-BAH *SEALED*        Entered:        Category: misc-cr Event: Application and
USA v. RESIDENCE OF [REDACTED],   04/03/2018      Affidavit for
[REDACTED]                        14:51:10        Search/Seizure Warrant under Rule 41 by
                                  Filed:          USA
                                  04/03/2018      Document:
                                                  1
                                  Application and Affidavit for Search Warrant by USA as
                                  to RESIDENCE OF [REDACTED], [REDACTED].
                                  (Attachments: # 1 Affidavit, # 2 Search & Seizure
                                  Warrant)
1:18-sw-00086-BAH *SEALED*        Entered:        Category: misc-cr Event: Application and
USA v. IPHONE DEVICES USED BY     04/03/2018      Affidavit for
[REDACTED]                        14:57:23        Search/Seizure Warrant under Rule 41 by
                                  Filed:          USA
                                  04/03/2018      Document:
                                                  1
                                  Application and Affidavit for Search Warrant by USA as
                                  to IPHONE DEVICES USED BY [REDACTED].
                                  (Attachments: # 1
                                  Affidavit, # 2 Search & Seizure Warrant)
1:18-sw-00162-BAH *SEALED*        Entered:         Category: misc-cr Event: Application
USA v. VARIOUS DEVICES            06/20/2018
BELONGING TO [REDACTED]           13:07:32
                                  Filed:           and Affidavit for Search/Seizure Warrant
                                  06/20/2018       under Rule 41 by USA
                                                   Document:
                                                   1
                                  Application and Affidavit for Search Warrant by USA as
                                  to VARIOUS DEVICES BELONGING TO
                                  [REDACTED]. (Attachments: # 1 Affidavit, # 2 Search
                                  Warrant)

1:19-sc-00517-BAH *SEALED*        Entered:        Category: misc Event: Application for
IN THE MATTER OF THE SEARCH OF    03/11/2019      Search/Seizure Warrant- 18
INFORMATION ASSOCIATED WITH A     11:24:25        U.S.C. 2703 (a), 2703(b)(1) (A), and
FACEBOOK ACCOUNT                  Filed:          2703 (c)(1)(A) Document:
CASE CLOSED on 03/29/2019         03/11/2019      1




                                       155
      Case 1:19-mc-00058-BAH Document 18-1 Filed 06/24/19 Page 156 of 156


                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C. 2703(a), 2703(b)(1)(A), and
                                 2703(c)(1)(A) filed by UNITED STATES OF
                                 AMERICA. (Attachments: # 1 Affidavit, # 2 Search and
                                 Seizure Warrant)

1:19-sc-00575-BAH *SEALED*       Entered:       Category: misc Event: Application for
IN THE MATTER OF THE SEARCH OF   03/15/2019     Search/Seizure Warrant- 18
INFORMATION ASSOCIATED WITH A    12:40:18       U.S.C. 2703 (a), 2703(b)(1) (A), and
FACEBOOK ACCOUNT                 Filed:         2703 (c)(1)(A) Document:
                                 03/15/2019     1
                                 APPLICATION for Search/Seizure Warrant by USA
                                 pursuant to 18 U.S.C. 2703(a), 2703(b)(1)(A), and
                                 2703(c)(1)(A) filed by UNITED STATES OF
                                 AMERICA. (Attachments: # 1 Affidavit, # 2 Search &
                                 Seizure Warrant)

1:19-sw-00057-BAH *SEALED*       Entered:       Category: misc-cr Event: Application and
USA v. VARIOUS ELECTRONIC        02/13/2019     Affidavit for
DEVICES BELONGING TO             13:05:01       Search/Seizure Warrant under Rule 41 by
[REDACTED].                      Filed:         USA
                                 02/13/2019     Document:
                                                1
                                 Application and Affidavit for Search/Seizure Warrant
                                 under Rule 41 by USA as to VARIOUS ELECTRONIC
                                 DEVICES BELONGING TO [REDACTED].
                                 (Attachments: # 1 Affidavit, # 2 Search and Seizure
                                 Warrant)




                                      156
